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                  9                              CENTRAL DISTRICT OF CALIFORNIA
               10                                          WESTERN DIVISION
               11
               12          LUCAS R., et al.,                        Case No. 2:18-CV-05741 DMG PLA
               13                          Plaintiffs,              MEMORANDUM OF POINTS AND
                                                                    AUTHORITIES IN SUPPORT OF
               14                v.                                 PLAINTIFFS’ MOTION FOR PARTIAL
                                                                    SUMMARY JUDGMENT
               15          ALEX AZAR, et al.,
               16                                                   Date:    Dec. 11, 2020
                                           Defendants.
                                                                    Time:    3:00 p.m.
               17                                                   Place:   Courtroom 8C, 8th Floor
               18
                                                                    Complaint Filed: June 29, 2018
               19                                                   Pretrial Conference Date: March 2, 2021
               20                                                   Trial Date: March 30, 2021
                                                                    Judge: Hon. Dolly M. Gee
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                  1        I.    INTRODUCTION
                  2              Plaintiffs challenge the policies and practices of the Office of Refugee
                  3        Resettlement (“ORR”) that prolong immigrant children’s detention under harsh
                  4        conditions, creating a continuum of trauma that vulnerable children—many of whom
                  5        arrive in the United States after having suffered horrific trauma in their countries of
                  6        origin—are ill-equipped to endure. Plaintiffs immigrated to the United States often
                  7        fleeing violence, physical and sexual assault, and extreme poverty only to be detained
                  8        by ORR for months, and sometimes years, while denied reunification with their parents,
                  9        siblings, and other family members.
               10                ORR prolongs children’s detention in ORR custody on the ground that their
               11          parents or other available custodians are or may be unfit, but affords neither detained
               12          children nor their proposed custodians any meaningful or timely opportunity to be heard
               13          regarding a proposed custodian’s fitness. Moreover, ORR “steps up” children from
               14          shelters to staff-secure, secure, and restrictive psychiatric facilities without even the
               15          most rudimentary procedural protections. Youth housed in shelters report being
               16          awakened in the small hours of the morning and soon thereafter finding themselves
               17          confined in juvenile detention centers or psychiatric facilities, where they suffer
               18          irreparable harm inherent to confinement. ORR also undermines lawyers’ ability to
               19          represent detained children with respect to placement, administration of psychotropic
               20          medications, or release to available custodians, notwithstanding that Congress
               21          specifically directed ORR to “ensure, to the greatest extent practicable” that children
               22          who are or have been in its custody have legal representation in “legal proceedings or
               23          matters.” William Wilberforce Trafficking Victims Protection Reauthorization Act of
               24          2008, 8 U.S.C. § 1232(b)(5) (“TVPRA”).
               25                To protect children like Gabriela N., who was held in ORR custody for 633 days
               26          while ORR refused to release her to her grandfather, and Lucas R., who was refused
               27          release to his sister and brother for over 200 days, from severe and unnecessary harm
               28          upon arrival in the United States, Congress incorporated into federal law two bedrock
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                  1        principles from the settlement in Flores v. Barr, No. 2:85-cv-04544-DMG (C.D. Cal.)
                  2        (“FSA”): (1) ORR must release children to parents or other qualified custodians without
                  3        unnecessary delay; and (2) ORR must place children in the “least restrictive” setting for
                  4        however long it detains them. See 8 U.S.C. § 1232(c)(2)(a). The FSA and TVPRA—
                  5        along with the Constitution—provide substantive rights to Class Members entitled to
                  6        procedural protection. (See ECF No. 141 at 11-15.)
                  7              However, neither the TVPRA nor the FSA prescribes procedures pursuant to
                  8        which Defendants must transparently and rationally determine: (1) whether children’s
                  9        parents or other available custodians are fit; or (2) whether a child may be consigned to
               10          a restrictive placement. This procedural vacuum has necessitated numerous motions to
               11          enforce the FSA, and prompted this Court to convene multiple conferences, and order
               12          ORR “for the umpteenth time . . . to abide by the FSA.” Flores v. Barr, No. 2:85-cv-
               13          04544-DMG-AGR, ECF No. 768 at 3 (C.D. Cal. Apr. 10, 2020). Absent meaningful
               14          process to determine whether ORR is unnecessarily detaining children or placing them
               15          in restrictive facilities, Plaintiffs must continue to resort to judicial enforcement of the
               16          substantive provisions of the TVPRA and FSA.
               17                ORR’s unnecessary delay and refusal to release children to qualified custodians
               18          inflicts grievous injury. And as days of detention stretch into weeks and months,
               19          frustration and trauma often culminate in behaviors indicative of their deteriorating
               20          emotional state. When this happens, instead of considering the mental and other health
               21          needs of the child, ORR “step-ups” children to even more restrictive settings, often
               22          exacerbating the child’s needs. Once stepped up, Defendants’ own data shows that
               23          children spend weeks or months longer in detention than those who are not stepped up.
               24                ORR justifies this vicious cycle as a byproduct of its duty to protect children from
               25          abuse or neglect. However, the uncontroverted evidence shows that, inter alia:
               26             • ORR prescribes no limit on how long it may take to decide whether a proposed
               27               custodian is fit;
               28             • ORR grants its staff and contractors broad discretion to invent requirements and
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                  1                 evaluate a custodian’s fitness before they are deemed fit;
                  2              • ORR fails to consider the trauma that detention itself causes in weighing whether
                  3                continued detention is in the child’s best interest;

                  4              • When detained children engage in undesirable behaviors, ORR transfers them to
                                   restrictive placement, most often waking them in the early hours of the morning
                  5                and transporting them to an unknown and unfamiliar destination;
                  6              • Even when ORR conducts TVPRA-required “30-day reviews” of restrictive
                                   placement, it denies children, their custodians, and their lawyers any meaningful
                  7
                                   role in deciding whether to “step-down” a child back to a non-secure placement;
                  8                and
                  9              • ORR exercises unilateral discretion in children’s release and placement; it does
                                   not provide notice or an opportunity to be heard by children, their custodians, or
               10
                                   their counsel in making these significant decisions.
               11
               12                   No other child welfare agency in the country enjoys unilateral discretion to detain
               13          children, keep them separated from their families, consign them to psychiatric wards
               14          and juvenile lockups for however long it wants, or medicate them without parental
               15          consent. If children’s substantive rights under the TVPRA, FSA, and Constitution are
               16          to mean anything at all, more process than none is due. Accordingly, Plaintiffs request
               17          that the Court enter judgment for Plaintiffs on their First (Custodians’ fitness), Second
               18          (Restrictive Placement), and Fourth (Obstructing Legal Assistance) Claims for Relief.
               19          II.      PROCEDURAL AND FACTUAL BACKGROUND
               20                   A.    Procedural Background
               21                   On June 29, 2018, Plaintiffs filed a complaint for injunctive relief, declaratory
               22          relief, and nominal damages, challenging certain unlawful policies and practices of
               23          ORR, an agency within the U.S. Department of Health and Human Services (“HHS”)
               24          that has responsibility for the placement, care, custody and release of “unaccompanied
               25          alien children.” 6 U.S.C. § 279; 8 U.S.C. § 1232; ECF No. 1. On September 7, 2018,
               26          Plaintiffs filed the First Amended Complaint (“FAC”). (ECF No. 81.) On December 27,
               27          2018, the Court issued an amended order granting in part and denying in part
               28
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                  1        Defendants’ motion to dismiss and certifying five classes of minors in ORR custody.
                  2        (ECF No. 141.) As relevant here, the Court certified the following classes:
                  3            • Minors in ORR custody “who are or will be placed in a secure facility, medium-
                                 secure facility, or RTC, or whom ORR has continued to detain in any such facility
                  4              for more than 30 days, without being afforded notice and an opportunity to be
                                 heard before a neutral and detached decisionmaker regarding the grounds for
                  5              such placement (i.e., the ‘step-up class’)”;
                  6            • Minors in ORR custody “whom ORR is refusing or will refuse to release to
                                 parents or other available custodians within 30 days of the proposed custodian’s
                  7              submission of a complete family reunification packet on the ground that the
                                 proposed custodian is or may be unfit (i.e., the ‘unfit custodian class’)”; and
                  8
                               • Minors in ORR custody “who are natives of non-contiguous countries and to
                  9              whom ORR is impeding or will impede legal assistance in legal matters or
                                 proceedings involving their custody, placement, release, and/or administration of
               10                psychotropic drugs (i.e., the ‘legal representation class’).”
               11          (Id. at 27–28.)1
               12                 The Court also made several findings relevant to the instant motion. First, the
               13          Court allowed Plaintiffs to proceed with “due process claims predicated on Defendants’
               14          failure to provide sufficient procedural safeguards for alien minors to exercise their
               15          Flores rights because Plaintiffs cannot bring those claims in the Flores Action.” (Id. at
               16          10–11.) Second, the Court concluded that ORR’s policies and practices “constitute final
               17          agency actions such that Plaintiffs may raise their TVPRA claims under the APA.” (Id.
               18          at 11–12.) Third, the Court found that Plaintiffs “identified . . . substantive rights
               19          underlying their procedural due process claims” arising under the Constitution, the
               20          TVPRA, and the FSA. (Id. at 13–15.) Fourth, the Court rejected Defendants’ argument
               21          that children in ORR custody, as undocumented minors, are not entitled to any
               22          procedural protections beyond those explicitly provided by Congress. (Id. at 13, 15.)
               23                 B.    Determining Custodians’ Fitness (First Claim for Relief)
               24                 Many of the named Plaintiffs and Class Members have endured unnecessary and
               25          prolonged detainments in ORR custody, separated from their families, often leading to
               26          1
                            The Court certified two additional classes of minors related to Plaintiffs’ Third and
               27          Fifth Claims for Relief, which are not at issue in this motion. (ECF No. 141 at 27–28.)
               28
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                  1        the children’s placements in more restrictive detention centers. Gabriela N. was in ORR
                  2        congregate care for 633 days; 2 Lucas R. was in ORR custody for 208 days; and one
                  3        Class Member remained in ORR custody for at least 1,570 days—or more than four
                  4        years. (Statement of Uncontroverted Facts and Conclusions of Law in Support of
                  5        Plaintiffs’ Motion for Partial Summary Judgment (“SUF”) ¶¶ 26–27.) As of March 13,
                  6        2020, there were approximately 1,193 children in ORR custody who had been detained
                  7        by ORR for more than 30 days. (SUF ¶ 23.)
                  8                It is indisputable that detention and family separation are detrimental to the well-
                  9        being of children, as demonstrated by the psychological harm suffered by Plaintiffs.
               10          (See, e.g., SUF ¶ 17 (Lucas R. had trouble sleeping and psychological issues until
               11          reunified with his brother); SUF ¶ 18 (Sirena P.’s separation from her family was noted
               12          as a trigger to her mental health symptoms); SUF ¶ 19 (Benjamin F.’s separation from
               13          his mother and placement in ORR’s legal custody led to physical and emotional
               14          challenges). 3 Notwithstanding this demonstrated harm, ORR’s policies fail to provide
               15          adequate procedural protections to guard against unnecessary and prolonged detention.
               16                        1.     ORR’s policies regarding custodial vetting.
               17                  ORR’s command is clear: make “prompt and continuous efforts” toward family
               18          reunification and release children “without unnecessary delay.” (SUF ¶ 29.) ORR
               19          releases children to potential custodians or “sponsors,” which include parents or legal
               20          guardians (Category 1 sponsors), immediate relatives (Category 2A/B sponsors), or
               21          more distant relatives and individuals (Category 3 sponsors). (SUF ¶ 30.) Cases with no
               22          identified sponsors are referred to as Category 4. (SUF ¶ 31.)4
               23
                           2
                            Plaintiff Gabriela N. has reached the age of majority since this action was filed and
               24          now maintains this action on her own behalf, rather than through her next friend, Isaac
               25          N., who passed away in July 2020.
                           3
               26           Indeed, detention is correlated with both short-term and long-term adverse effects on
                           children’s physical and mental health and well-being. (SUF ¶¶ 1–4.)
               27          4
                               Some children designated as Category 4 may have had identified sponsors that were
               28
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                  1              ORR employees make final release decisions with minimal if any oversight,
                  2        much less the kind of judicial oversight applied in the analogous child welfare context.
                  3        (SUF ¶¶ 32–35, 37–38, 57.) Case Managers are not federal employees but are employed
                  4        by “care providers,” i.e., private facilities with which ORR enters into cooperative
                  5        agreements to place and care for children in ORR custody. (SUF ¶ 274.) Case Managers
                  6        are responsible for assessing potential sponsors and making transfer and release
                  7        recommendations. (SUF ¶ 33.) Case Coordinators are non-governmental contractor
                  8        field staff assigned to one or more care providers primarily to review children’s cases
                  9        and provide transfer and release recommendations to ORR staff. (SUF ¶ 34.) Federal
               10          Field Specialists (“FFS”) are ORR field staff located regionally throughout the country
               11          with final decision-making authority to, inter alia, release a child to a proposed sponsor.
               12          (SUF ¶¶ 35, 37.) Although Case Managers are the first of three actors involved in
               13          release decisions, they also have unilateral authority to declare a potential sponsor “non-
               14          viable,” which ends the vetting process for that sponsor. (SUF ¶ 38.)
               15                ORR’s written policies offer a broad list of assessment criteria that Case
               16          Managers, Case Coordinators, and FFS (“case staff”) may use to evaluate the fitness of
               17          potential sponsors. (SUF ¶ 59.) For example, the only requirements for ordering a
               18          discretionary home study are that the sponsor be potentially viable and case staff “have
               19          a reasonable expectation that results of the home study process . . . will provide
               20          additional information, other than what has already been gathered via the sponsor
               21          assessment process, which will mitigate concerns.” (SUF ¶ 45.) Prior to release, ORR
               22          may also conduct additional assessments of minors in custody, such as psychological
               23          evaluations. (SUF ¶ 52.) Yet ORR provides no written standards for when it may require
               24          a psychological evaluation as a prerequisite to release. (SUF ¶ 53.)
               25                ORR fails to provide written notice of decisions denying release in all but the
               26          most limited circumstances. Only when ORR deems a Category 1 sponsor unfit, will it
               27
               28          denied or deemed non-viable by ORR. (SUF ¶ 69.)
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                  1        send the sponsor a denial letter. (SUF ¶ 72.) No other category of sponsor is entitled to
                  2        written notification of the denial and reasons for that denial. (Id.) And only if the sole
                  3        reason for denial is a concern that the child may be a danger to themself or the
                  4        community, does ORR send the child a denial letter. (SUF ¶ 70.) No other child is
                  5        entitled to written notification of the denial and reasons for that denial. (SUF ¶ 71.)
                  6        Opportunities to challenge decisions denying release are similarly limited. Only parents
                  7        and legal guardians have a right to appeal; no other proposed sponsors have any
                  8        opportunity to challenge a release denial. (SUF ¶ 79.) Children are only entitled to
                  9        appeal an adverse decision if the sole reason for the denial is a concern that the child is
               10          a danger to themselves or the community. (SUF ¶¶ 77–78.) None of these criteria was
               11          true for Lucas R., which meant that neither he nor his sister, Madelyn R., were ever told
               12          why Madelyn’s sponsorship application was denied, which resulted in Lucas R. being
               13          detained in ORR custody awaiting reunification for 208 days. (SUF ¶¶ 26, 86–87.)
               14                       2.     ORR’s policies regarding           custodial    vetting    lack basic
               15                              procedural protections.

               16                ORR’s policies confer enormous discretion on case staff to determine whether a
               17          child can be released from federal custody without any of the basic procedural
               18          protections afforded in analogous child welfare systems. These policies frequently
               19          change and none of the limited guidance provided to case staff concerning custodial
               20          vetting is published in the Federal Register or Notice of Proposed Rulemaking or
               21          otherwise made available for public comment. (SUF ¶ 63.) Moreover, the policies on
               22          their face fail to provide even the most basic procedural protections to children and their
               23          sponsors. For example, the policies:
               24                • Fail to provide guidance on how to weigh information once collected or
                                   require application of any particular standard—much less an evidentiary
               25                  standard—when making release decisions (SUF ¶¶ 59, 61–62);
               26                • Fail to provide a hearing before a neutral factfinder to challenge a decision
                                   denying release to a proposed custodian (SUF ¶ 74, 76);
               27
                                 • Fail to afford children the opportunity to review evidence relied upon in
               28
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                  1                    denying a sponsor or otherwise provide a meaningful opportunity to challenge
                                       denial decisions (SUF ¶ 73);
                  2
                                  • Fail to provide children with written notification of a proposed sponsor’s
                  3                 denial in all but the most limited circumstances (SUF ¶ 70–71);
                  4               • Fail to afford children the right to appeal adverse decisions in all but the most
                                    limited circumstances (SUF ¶ 77–78);
                  5
                                  • Fail to require any timeline for providing adverse decisions to proposed
                  6                 custodians other than parents or legal guardians (SUF ¶ 96);
                  7               • Fail to provide proposed custodians an opportunity to meaningfully inspect or
                                    rebut evidence relied upon to declare them unfit (SUF ¶ 75);
                  8
                                  • Fail to ensure children their constitutional and statutory rights to counsel; and
                  9
                                  • Fail to provide proposed custodians other than parents or legal guardians an
               10                   opportunity to challenge adverse decisions through appeal or otherwise (SUF
                                    ¶¶ 79–80).
               11
               12                 C.      Restrictive Placement (Second Claim for Relief)
               13                 ORR is responsible for the placement, care, custody, and release of
               14          “unaccompanied alien children.” 6 U.S.C. § 279; 8 U.S.C. § 1232. A child in ORR’s
               15          custody “shall be promptly placed in the least restrictive setting that is in the best interest
               16          of the child” and “shall not be placed in a secure facility absent a determination that the
               17          child poses a danger to self or others or has been charged with having committed a
               18          criminal offense.” 8 U.S.C. § 1232(c)(2)(A).
               19                 Despite this Congressional command, ORR detains children in restrictive
               20          facilities without affording them fundamental rights to hearings or any meaningful
               21          procedural protections. Children may be placed in restrictive settings as: (1) an initial
               22          placement upon transfer to ORR custody; or (2) when they are moved or “stepped up”
               23          from a lower level of care to a more restrictive placement. (SUF ¶¶ 102–03, 105.)5 ORR
               24          has a network of available placements, which include shelters, short-term or transitional
               25          foster care, long-term foster care, group homes, therapeutic group homes, staff-secure,
               26
               27          5
                            Children can also be moved from a more restrictive to a less restrictive level of care.
               28          This is referred to as a “step-down.” (SUF ¶ 106.)
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                  1        therapeutic staff-secure, secure, and residential treatment centers (“RTCs”). (SUF
                  2        ¶¶ 101, 107–08.) ORR also detains children in a number of out-of-network (“OON”)
                  3        facilities, some of which are RTCs. (SUF ¶ 108.)6
                  4              ORR regularly “steps up” Class Members. (SUF ¶ 104.) As of March 13, 2020,
                  5        14 of the total 3,621 children in ORR in-network care were detained in a secure facility;
                  6        17 were detained in a RTC; 30 were detained in a staff-secure facility; 6 were detained
                  7        in a therapeutic staff-secure facility; and 13 were detained in therapeutic group homes.
                  8        (SUF ¶ 223.) As of that same date, 11 children were detained in out-of-network RTCs.
                  9        (SUF ¶ 224.) The longer ORR detains a child, the more likely they will be stepped up
               10          to a restrictive placement. (SUF ¶ 115.)
               11                Secure juvenile detention facilities, which ORR concedes “have a secure
               12          perimeter, major constraining construction inside the facility, and procedures typically
               13          associated with correctional facilities,” are the most restrictive facilities in ORR’s
               14          network. (SUF ¶¶ 129, 117.)7 Secure facilities—which have been compared to
               15          “prisons” and “jails” by ORR’s own staff (SUF ¶ 128)—are “locked facilities with
               16          24-hour surveillance and monitoring.” (SUF ¶ 131.) Children are detained alone in
               17          small cells with concrete beds layered with only a thin mattress and no pillow. (Ex. 82
               18          [Y.A.M.S. Decl.] ¶¶ 29–30.)8 Children report being allowed out of their cells for only
               19          short periods of time and that the lights remain on through the night. (Ex. 137 [F.R.A.]
               20          Decl. ¶ 10 (“[At Yolo] they never turn out the lights. The lights stay on all night so you
               21          have to cover your head to try to sleep.”).)
               22
                           6
                            ORR’s Manual of Procedures (“MAP”) refers to OON RTC placements as Treatment
               23          Authorization Request (“TAR”) RTC placements. (SUF ¶ 110.)
               24          7
                             Previously, ORR maintained three secure facilities: Yolo County Juvenile Center
               25          (“Yolo”), Shenandoah Valley Juvenile Center (“SVJC”), and Northern Virginia
                           Juvenile Detention Center (“NOVA”). (SUF ¶ 119.) Presently, ORR only maintains one
               26          secure facility: SVJC. (Id.)
               27          8
                            All exhibits cited are attached to the Declaration of Alexandra R. Mayhugh in Support
               28          of Plaintiffs’ Motion for Partial Summary Judgment filed concurrently herewith.
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                  1              Guards forcibly restrain and pepper spray children (SUF ¶ 130), which is
                  2        traumatizing for those being restrained or pepper sprayed as well as the children
                  3        witnessing the incident. (Ex. 137 [F.R.A. Decl.] ¶¶ 7–8 (child recounting staff throwing
                  4        him on the ground and handcuffing him and witnessing another child being restrained
                  5        so forcefully that his arm broke).) Children who have endured confinement in ORR’s
                  6        juvenile detention centers describe being “treated like criminals” and made to “feel like
                  7        an animal.” (Ex. 82 [Y.A.M.S. Decl.] ¶¶ 27, 29–30 (“It has been 11 months of misery
                  8        [at Yolo]”—“a juvenile jail where we are kept in cells, forced to wear uniforms and
                  9        treated like criminals. The detention center makes me feel like an animal.”).)
               10                RTCs are highly restrictive psychiatric facilities, which are similarly restrictive
               11          as secure facilities. (SUF ¶¶ 118, 127.)9 In addition to physical liberty restrictions (SUF
               12          ¶ 132), RTCs require children to undergo treatment prescribed by the respective facility
               13          (SUF ¶¶ 133, 134). As part of that treatment, children report being medicated against
               14          their will, including being forcibly injected with psychotropic medication. (SUF ¶¶ 133,
               15          134; Ex. 82 [Y.A.M.S. Decl.] ¶¶ 13–20 (recounting that staff would force the child’s
               16          mouth open if they tried to refuse to take the medication; “I felt like I had no one to help
               17          me and no option but to take the daily medication.”); Ex. 69 [K.N.A.T. Decl.] ¶ 11
               18          (“The staff hold down and inject youth that aren’t able to calm down.”); Ex. 62 [D.S.J.L.
               19          Decl.] ¶ 11 (“Two staff grabbed me, and the doctor gave me an injection despite my
               20          objection and left me there on the bed.”).)
               21                OON facilities are often RTCs that are similarly restrictive as in-network RTCs.
               22          (SUF ¶ 121.) Staff-secure, therapeutic staff-secure, and therapeutic group homes are
               23          less restrictive than RTCs and secure jails, but more restrictive than shelters. (SUF
               24          ¶¶ 122–23, 125; id. ¶ 135 (children in therapeutic staff-secure facilities may be required
               25          to undergo sex offender treatment); id. ¶ 124 (staff-secure facilities can be gated,
               26          9
                             ORR currently maintains two in-network RTCs: MercyFirst Residential Treatment
               27          Center (“MercyFirst”) in Syosset, New York, and Shiloh Treatment Center (“Shiloh”)
               28          in Manvel, Texas. (SUF ¶ 120.)
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                  1        enclosed, fenced facilities).) Foster care programs are the least restrictive settings in
                  2        which ORR places Class Members. (SUF ¶ 126.) ORR may consider each of these
                  3        placements when determining the “least restrictive” environment for a child.
                  4              It is unsurprising that the cumulative impact of confinement in ORR’s restrictive
                  5        facilities are deleterious for a child’s psychological and emotional functioning. (SUF
                  6        ¶ 1, 3-4, 136.) Yet children who then manifest behavioral symptoms of mental
                  7        decompensation are at risk of being detained even longer in a restrictive setting, or
                  8        generally in ORR custody unless they show good behavior (SUF ¶¶ 68, 152), something
                  9        that experts say may not be achievable. (See Ex. 56 [Matlow & Wang Expert Rep.] at
               10          1387 (“Due to the impact of traumatic stress on cognitive, emotional, and behavioral
               11          regulation skills . . . expectations for perfect behavior (i.e. no impulsive behavior, no
               12          defiant behavior, no rule breaking, etc.) over extended periods of time are
               13          unrealistic.”).) This cruel cycle of indefinite detention exacerbates behaviors used to
               14          justify further detention. (Id. at 1389 (“Release or step-down requirements that depend
               15          upon demonstration of emotional, psychological, or behavioral stability are
               16          contradictory in that the facility setting itself is often the source of the child’s distress
               17          and dysregulation.”).)
               18                Further problematic is that ORR evaluates this “good behavior” based on, among
               19          other things, the number of Special Incident Reports (“SIRs”) a child has received (SUF
               20          ¶ 153), yet the behaviors that trigger a SIR vary from program to program (SUF ¶ 154).
               21          Step-up can also further delay a child’s release to a sponsor because ORR generally
               22          requires home studies of proposed custodians of the children it steps up to secure
               23          facilities or RTCs. (SUF ¶¶ 44, 156.)
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A T T O RNE YS A T L A W                                                                                  MEM. ISO MOT.
     L O S A N GE L E S                                               11                F OR P ARTIAL SUMMARY JUDGMENT
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                  1              Children stepped up to secure, staff-secure, and RTCs, as well as OON,
                  2        therapeutic staff-secure, and therapeutic group homes, are detained on average longer
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               11
               12          than children who are not stepped up. (SUF ¶¶ 140, 141.) For example, Plaintiffs’ expert
               13          Dr. Emily Ryo, a Professor of Law and Sociology at the University of Southern
               14          California, reviewed ORR data from November 2017 to March 13, 2020 and found that
               15          more restrictive placement correlated with longer average lengths of stay:
               16          (Ex. 57 [Ryo Expert Rep.] at 1403; SUF ¶ 142.) At least one class-member was held in
               17          restrictive placements for more than four years. (SUF ¶ 143.)
               18                Children who spend time in secure, staff-secure, therapeutic staff-secure, RTC,
               19          OONs, and therapeutic group homes are also less likely to be reunified with a proposed
               20          custodian (SUF ¶¶ 144–45), and more likely to voluntarily depart the United States than
               21          those who are not stepped up (SUF ¶¶ 146–47). Further, children who are stepped up
               22          are generally ineligible for step-down to long-term foster care programs (SUF ¶ 139),
               23          and children who are stepped up and have no potential sponsor or their sponsor(s) were
               24          denied—i.e., Category 4 cases—are unlikely to be released to Unaccompanied Refugee
               25          Minor (“URM”) programs (SUF ¶¶ 148–49). 10
               26
                           10
               27             “The URM program is the ORR-funded foster care services program . . . that
                           establishes legal responsibility, under State law, to ensure that unaccompanied minor
               28
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                  1                     1.     ORR’s policies regarding restrictive placement.
                  2               ORR’s written policies and procedures govern ORR’s placement and transfer
                  3        decisions. (SUF ¶ 157.) ORR’s policies provide no definition or placement criteria for
                  4        therapeutic staff-secure facilities, therapeutic group homes, and out-of-network
                  5        facilities, despite mandate to consider least restrictive placements. (SUF ¶¶ 109, 111–
                  6        14.)
                  7               ORR case staff participate in step-up and step-down determinations. (SUF ¶¶ 34,
                  8        161, 167.) Case Managers compile the information ORR relies upon to decide whether
                  9        children will be stepped up or stepped down and recommend whether step-up or step-
               10          down is appropriate. (SUF ¶ 161–62.) Case Coordinators offer a third-party review of
               11          the Case Manager’s recommendations regarding step-ups and step-downs (SUF ¶ 34),
               12          but unlike Case Managers they are not required to speak with children before making
               13          their recommendation (SUF ¶ 164). In practice, Case Coordinators rely exclusively on
               14          written documentation (SUF ¶ 163), and rarely speak with children before making step-
               15          up and step-down recommendations. (SUF ¶ 165.) FFS, who are ORR staff (SUF
               16          ¶ 166), provide final authorization for step-up and step-down decisions and can depart
               17          from a Case Manager’s and/or Case Coordinator’s recommendation without further
               18          review by any other ORR official. (SUF ¶ 167.) Like Case Coordinators, FFS rely
               19          exclusively on written documentation (SUF ¶ 168), which is not always accurate (SUF
               20          ¶ 169), and are not required to interview children or communicate with a child’s
               21          potential custodian before making such decisions. (SUF ¶ 170.)
               22                 If ORR determines that a child warrants a more restrictive level of placement,
               23          ORR procedures only require that children be given a notice of placement form
               24          (“NOP”) within 48 hours after step-up. (SUF ¶ 183.) The NOP is supposed to inform
               25          the child of the reason for placement in a restrictive setting and their right to challenge
               26
                           refugees and other eligible children . . . receive the full range of assistance, care, and
               27          services that are available to all foster children in the State.” (Ex. 1 [ORR Policy Guide],
               28          Guide to Terms at 21.)
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                  1        the placement. (SUF ¶ 186.) However, prior notice of step-up or placement in a
                  2        restrictive setting is not required. (SUF ¶¶ 179, 181.) Additionally, children placed in
                  3        OON facilities are not required to receive the NOP within the same time frame (SUF
                  4        ¶ 184), and children placed in therapeutic group homes are not entitled to receive any
                  5        NOP under ORR policy or procedures. (SUF ¶ 185.)
                  6              These draconian policies and lack of notice have a devastating effect on already
                  7        traumatized children, sowing confusion, fear and anxiety. (Ex. 58 [A.D.A Decl.] ¶ 4
                  8        (“One morning at 4:00am, officials came and took me from the shelter and transferred
                  9        me . . . No one told me where I was going or why.”); Ex. 4 [M.A.P.S. Decl.] ¶ 4 (“One
               10          night, the staff told me to get in the car because we were going to look at the stars
               11          outside. It was really late at night, and I was tired and fell asleep. When I woke up, I
               12          was furious because I realized that they had lied to me. They had taken me to Shiloh
               13          and left all my personal belongings behind at the shelter. No one had told me that I
               14          would be transferring to a new facility. I had no prior notice of the transfer and neither
               15          did my family.”).)
               16                ORR also limits appeal rights regarding placement to an administrative request
               17          for reconsideration to the ORR Director or federal district court review, neither of which
               18          is automatic. (SUF ¶ 187.) The request for reconsideration does not include a hearing
               19          with the right to present evidence or confront adverse evidence. (SUF ¶ 204.) And
               20          children are only entitled to seek reconsideration by the ORR Director after 30 days in
               21          a secure facility or RTC. (SUF ¶ 201.) Children placed in staff-secure or therapeutic
               22          staff-secure facilities, or therapeutic group homes are not afforded an administrative
               23          appeal under ORR policy. (SUF ¶ 202.)
               24                Although a child who ORR steps up may request a Flores bond hearing before
               25          an immigration judge, the outcome of the bond hearing has no determinative outcome
               26          on the child’s level of placement in ORR custody. (SUF ¶ 205.) Moreover, the bond
               27          process puts the onus to initiate and the burden of proof on the child (SUF ¶ 276), in
               28          contravention of basic procedural due process standards.
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                  1                     2.     ORR’s policies regarding restrictive placement lack basic
                                               procedural protections.
                  2
                  3              ORR’s policies confer unlimited discretion on staff and FFS. None of the limited
                  4        guidance provided to case staff concerning step-up, step-down or placement is
                  5        published in the Federal Register or Notice of Proposed Rulemaking or otherwise made
                  6        available for public comment. (SUF ¶ 158.) And the policies as written fail to provide
                  7        even the most basic procedural protections to children. For example, the policies:
                  8              • Fail to provide guidance on how to weigh placement considerations or the
                                   application of any particular standard—much less an evidentiary standard—
                  9                to placement decisions (SUF ¶ 177–78);
               10                • Fail to provide a child any prior written notice that a child may be stepped up
                                   or the reasons for step-up (SUF ¶ 179);
               11
                                 • Fail to provide children with adequate notice of placement, or in some
               12                  instances—such as therapeutic group homes—to provide any notice of
                                   placement whatsoever (SUF ¶¶ 184–85, 192);
               13
                                 • Fail to provide a child’s parent or other potential custodian a notice of
               14                  placement prior or subsequent to restrictive placement (SUF ¶¶ 181, 191);
               15                • Fail to provide children a meaningful opportunity to inspect and rebut adverse
                                   evidence relied upon to step them up or decline to step them down (SUF
               16                  ¶¶ 197, 215);
               17                • Fail to provide children an opportunity to present evidence or cross-examine
                                   witnesses in a hearing regarding step-up, step-down or placement in a
               18                  restrictive setting (SUF ¶¶ 196, 199, 204, 216);
               19                • Fail to provide a hearing before a neutral factfinder to challenge an anticipated
                                   or completed step-up or anticipated denial of step-down (SUF ¶¶ 166–67, 187,
               20                  193, 204); and
               21                • Fail to provide children an opportunity to challenge adverse decisions
                                   regarding placement through appeal or otherwise in all but the most limited
               22                  circumstances (SUF ¶¶ 201–02).
               23                D.     Obstructing Legal Assistance in Matters Relating to Release,
                                        Placement, and Medication (Fourth Claim for Relief)
               24
               25                Plaintiff Class Members are children who are typically indigent, speak little or
               26          no English, and have little or no knowledge of the United States’ legal system. (SUF
               27          ¶ 226.) Their right to legal representation while in ORR custody is statutorily
               28          guaranteed and critical to the protection of their rights.
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     L O S A N GE L E S                                               15                 F OR P ARTIAL SUMMARY JUDGMENT
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                  1              ORR is required to ensure “to the greatest extent possible” that children from
                  2        noncontiguous countries have counsel to represent them “in legal proceedings or
                  3        matters and protect them from mistreatment.” (SUF ¶ 227.) ORR and care provider
                  4        facilities are required to provide children with information about the availability of free
                  5        legal assistance and their right to be represented by counsel. (SUF ¶ 228.)
                  6              HHS contracts with the Vera Institute of Justice (“VIJ”), a non-profit
                  7        organization, to coordinate the delivery of free legal services to children who are or
                  8        have been in ORR custody. (SUF ¶ 229.) VIJ in turn subcontracts with non-profit legal
                  9        aid providers to counsel and represent children in immigration proceedings. (SUF
               10          ¶ 231.) The vast majority of Class Members are represented, if at all, by legal service
               11          providers under subcontract with VIJ. (SUF ¶ 233.)
               12                The undisputed facts demonstrate that ORR’s policies and procedures frequently
               13          compromise lawyers’ ability to represent detained children with respect to release,
               14          placement, and medication decisions.
               15                First, Case Managers are not required to communicate with children’s lawyers
               16          about release and placement decisions. Although ORR policy nominally declares that
               17          “Case Manager[s] inform[] other stakeholders of the progress” toward release, it
               18          nowhere requires case managers to inform children’s lawyers of anything, but instead
               19          provides that such “other stakeholders” “may include local legal service providers and
               20          attorneys of record.” (SUF ¶ 236 (emphasis added).) ORR’s lack of policy grants broad
               21          discretion to Case Managers to communicate—or not—with children’s counsel. (SUF
               22          ¶¶ 236–37, 241–42.) Thus, lawyers’ access to Case Managers varies by facility. (SUF
               23          ¶ 240.) Indeed, some facilities even refuse to tell lawyers who their client’s Case
               24          Manager is. (SUF ¶ 237.) Likewise, Case Coordinators and FFS are not required to
               25          communicate with children’s legal counsel. (SUF ¶ 238–39.) And, in practice, they
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                  1        rarely do. (SUF ¶ 239.)11
                  2              Second, in the limited instances when children’s counsel are made aware of
                  3        release and placement decisions, ORR denies them timely access to evidence and
                  4        information it relies upon in making those decisions. Case Managers do not regularly
                  5        provide legal representatives with evidence relied upon in recommending for or against
                  6        release. (SUF ¶ 241.) They inconsistently allow children’s lawyers to submit
                  7        affirmative evidence in support of a client’s release. (SUF ¶ 242.) They do not provide
                  8        legal representatives with copies of their ultimate recommendation for or against
                  9        release. (SUF ¶ 243.) Likewise, Case Coordinators and FFS are not obligated to provide
               10          children’s lawyers the opportunity to submit affirmative evidence or even provide a
               11          copy of the ultimate recommendation and decision. (SUF ¶¶ 244–45.) The same goes
               12          for restrictive placement. Legal representatives must formally request a copy of the
               13          child’s file in order to access evidence ORR believes justifies restrictive placement.
               14          (SUF ¶¶ 246–47.) There are no time limits on how long ORR may take before it releases
               15          a child’s file pursuant to a request from their lawyer; in practice, counsel may wait
               16          weeks or months before receiving the file. (SUF ¶¶ 248–49.)12
               17                Third, ORR obstructs children’s counsel from advocating for them with respect
               18          to step-up or step-down decisions. (SUF ¶ 251–54.) ORR does not require that a child’s
               19          lawyer be informed when a child is being stepped-up to a restrictive placement until
               20          after the transfer occurs. (SUF ¶ 255.) Nor does ORR disclose any psychological reports
               21          relied upon to transfer a child to a secure and/or psychiatric facility. (SUF ¶ 254.)
               22                Fourth, ORR’s written policies do not require that a child’s legal representative
               23
               24          11
                              Nor do children’s legal representatives have access to personnel tasked with
               25          completing home studies for proposed sponsors, even though such home studies may
                           be determinative in deciding whether ORR releases a child. (SUF ¶ 261.)
               26          12
                             And when it does at least produce a child’s file, ORR redacts the names and contact
               27          information of third parties, including names of potential custodians and witnesses to
               28          events allegedly justifying restrictive placement. (SUF ¶ 250.)
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                  1        be informed if their client is being administered psychotropic medication. (SUF ¶ 259.)
                  2              E.      Plaintiffs Suffered Real and Substantial Harm as a Result of
                                         Defendants’ Policies
                  3
                  4              In February 2018, ORR took Plaintiff Lucas R. into its custody and placed him
                  5        at the Hacienda del Sol facility (“HdS”) in Youngtown, Arizona. (SUF ¶ 10.) When
                  6        Lucas R.’s sister, Madelyn, learned of his arrest, she quickly asked ORR to release
                  7        Lucas R. to her. (SUF ¶ 49.) Madelyn promptly gave ORR all the documents it
                  8        requested and applied to be his sponsor. (SUF ¶ 49.)
                  9              On February 20, 2018, ORR hospitalized Lucas R., purportedly due to suicidal
               10          ideation. (SUF ¶ 11.) According to the emergency room report, Lucas R. had “[suicidal
               11          ideation] x8 days since being moved to southwest key . . . ‘and being removed from
               12          family.’” (SUF ¶ 11.) The report further states that Lucas R. “denie[d] [suicidal
               13          ideation] at this time [and] just states he is sad and depressed being away from his family
               14          in Guatemala.” (SUF ¶ 12.) Nonetheless, upon being returned to HdS, a nurse
               15          practitioner promptly placed Lucas R. on sertraline (brand name Zoloft), a psychotropic
               16          drug with severe potential side effects. (SUF ¶ 13.) The medication caused Lucas R.
               17          stomach pain, and he periodically resisted taking it. (SUF ¶ 13.) No one from the shelter
               18          or ORR asked Madelyn for her consent to administer Lucas R. psychotropic drugs.
               19          (SUF ¶ 14.)
               20                On or about March 15, 2018, ORR arranged a home study to assess Madelyn’s
               21          suitability as a custodian for Lucas R. (SUF ¶ 50.) On April 12, 2018, ORR’s home
               22          investigator recommended against releasing Lucas R. to Madelyn. (SUF ¶ 51.) Madelyn
               23          describes how she learned that ORR had declared her unfit to care for her brother:
               24                She told me nothing could be done, that the denial was a final decision.
                                 They didn’t give me any opportunity to appeal the denial, or to ask that the
               25
                                 decision be changed. She never gave me anything in writing explaining the
               26                reason for having denied me [Lucas R.’s] custody.
               27          (ECF No. 37-13 [Madelyn R. Decl.] ¶ 13.)
               28                Shortly thereafter, ORR transferred Lucas R. to Shiloh RTC. (SUF ¶ 15.) There,
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     L O S A N GE L E S                                              18                F OR P ARTIAL SUMMARY JUDGMENT
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                  1        ORR continued to confine and medicate him without his or his family’s consent until
                  2        he was finally released to his brother on September 4, 2018. (SUF ¶ 16.)
                  3               Numerous named Plaintiffs and Class Members recount similarly precipitous and
                  4        perfunctory decision-making that extended detention for months without their having
                  5        the least ability to correct faulty assumptions, rebut derogatory evidence, or fill in the
                  6        evidentiary record. (See, e.g., Ex. 138 [J.F.A. Decl.] ¶ 9 (Gabriela N.’s grandfather, after
                  7        she was detained six months at Shiloh RTC: “I got the impression that the home
                  8        investigator didn’t think I made enough money to be able to support [my granddaughter]
                  9        and myself.”); ECF No. 37-14, ¶ 8 (youth detained for fifteen months: “My case worker
               10          told me that the only reason that I haven’t been released to my aunt [is] because I don’t
               11          have an official birth certificate[.] My mother died before she could register me for
               12          [one].”).)
               13                 If the statements of these children were not enough, Plaintiffs’ experts similarly
               14          agree that prolonged detention, such as that described above, is positively associated
               15          with increased incidences of “step-up,” thus producing a vicious cycle. (See SUF ¶ 115.)
               16          III.   LEGAL STANDARD
               17                 A party may move for partial summary judgment. Fed. R. Civ. P. 56(a). The
               18          standard for partial summary judgment is the same as summary judgment generally,
               19          such that summary judgment on a claim is appropriate when the moving party “shows
               20          that there is no genuine dispute as to any material fact and the movant is entitled to
               21          judgment as a matter of law.” Id.; see Celotex Corp. v. Catrett, 477 U.S. 317, 322
               22          (1986). Material facts are those that may affect the outcome of the case. Nat’l Ass’n of
               23          Optometrists & Opticians v. Harris, 682 F.3d 1144, 1147 (9th Cir. 2012). A dispute is
               24          genuine “if the evidence is such that a reasonable [factfinder] could return a verdict for
               25          the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
               26          IV.    PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR
                                  FIRST AND SECOND CLAIMS FOR RELIEF
               27
               28                 The undisputed facts show that ORR’s custodial vetting and step-up policies and
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     L O S A N GE L E S                                               19               F OR P ARTIAL SUMMARY JUDGMENT
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                  1        practices fail to provide procedural due process when denying a child release to a parent
                  2        or other proposed custodian and when detaining children in restrictive facilities.
                  3              The Fifth Amendment provides that no person shall “be deprived of life, liberty,
                  4        or property, without due process of law.” U.S. Const. amend. V. “A procedural due
                  5        process claim has two distinct elements: (1) a deprivation of a constitutionally protected
                  6        liberty or property interest, and (2) a denial of adequate procedural protections.”
                  7        McQuillion v. Duncan, 306 F.3d 895, 900 (9th Cir. 2002) (internal quotation marks
                  8        omitted). A constitutionally protected liberty or property interest can arise from the
                  9        Constitution, statute, or contract, including a consent decree. Zadvydas v. Davis, 533
               10          U.S. 678, 690 (2001) (Constitution); Carver v. Lehman, 558 F.3d 869, 874–75 (9th Cir.
               11          2009) (statute); Smith v. Sumner, 994 F.2d 1401, 1406 (9th Cir. 1993) (consent decree);
               12          see ECF No. 141 [Class Cert. Order] at 13-15.
               13                Plaintiffs have clear liberty interests to be free from detention, to familial
               14          association, and to be placed in the least restrictive setting—interests guaranteed by the
               15          Constitution, the TVPRA, and the FSA. (See infra Section IV.A.) Moreover, the
               16          undisputed record demonstrates that ORR’s policies violate even the most basic tenets
               17          of due process by failing to provide Plaintiffs with notice and a hearing. (See infra
               18          Section IV.B.) Because Plaintiffs are constitutionally entitled to a hearing, binding
               19          Supreme Court precedent mandates that ORR provide such hearing in accordance with
               20          the procedures set forth in the APA. (See infra Section IV.C.) Finally, the high risk of
               21          erroneous deprivation, probable value of additional safeguards, and relatively low
               22          burden associated with additional procedural requirements, see Mathews v. Eldridge,
               23          424 U.S. 319 (1976), further weigh in favor of granting summary judgment and the
               24          remedies articulated in the concurrently filed Proposed Order. (See infra Section IV.D.)
               25                A.     Plaintiffs Have Protected Liberty Interests Vested by the Constitution,
               26                       the TVPRA, and the FSA

               27                The substantive rights underlying Plaintiffs’ procedural due process claims are
               28          rooted in the Constitution, the TVPRA, and the FSA—all of which guarantee rights to
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                  1        be free from detention and to familial association. (See ECF No. 141 [Class Cert. Order]
                  2        at 13-15.)
                  3              Constitution. “Freedom from imprisonment—from government custody,
                  4        detention, or other forms of physical restraint—lies at the heart of the liberty that [the
                  5        Fifth Amendment’s Due Process] Clause protects.” Zadvydas, 533 U.S. at 690
                  6        (recognizing Fifth Amendment liberty interest for immigrant detainees in civil custody);
                  7        see also Hernandez v. Sessions, 872 F.3d 976, 981 (9th Cir. 2017) (“[T]he government’s
                  8        discretion to incarcerate non-citizens is always constrained by the requirements of due
                  9        process.”); id. at 990 (“In the context of immigration detention, it is well-settled that
               10          ‘due process requires adequate procedural protections to ensure that the government’s
               11          asserted     justification   for   physical   confinement   outweighs     the individual’s
               12          constitutionally protected interest in avoiding physical restraint.’”) (quoting Singh v.
               13          Holder, 638 F.3d 1196, 1203 (9th Cir. 2011)).
               14                Further, children placed in secure psychiatric facilities, including but not limited
               15          to RTCs, are often subjected to highly restrictive conditions amounting to civil
               16          commitment. And “civil commitment for any purpose constitutes a significant
               17          deprivation of liberty that requires due process protection.” Foucha v. Louisiana, 504
               18          U.S. 71, 75-80 (1992) (recognizing Fifth Amendment liberty interest for civilly
               19          committed detainees) (quoting Addington v. Texas, 441 U.S. 418, 425 (1979)); Parham
               20          v. J.R., 442 U.S. 584, 600 (1979) (there is a “substantial liberty interest in not being
               21          confined unnecessarily for medical treatment”). The uncontroverted record also shows
               22          that children stepped up to secure psychiatric facilities may be required to undergo
               23          mandatory behavior modification (SUF ¶ 135 (children forced to undergo sex-offender
               24          treatment); SUF ¶ 134 (children forcibly injected with psychotropic medication)),
               25          which itself requires due process protections under the Constitution. See Vitek v. Jones,
               26          445 U.S. 480, 494 (1980) (“[T]he stigmatizing consequences of a transfer to a mental
               27          hospital for involuntary psychiatric treatment, coupled with the subjection of the
               28          prisoner to mandatory behavior modification as a treatment for mental illness,
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                  1        constitutes the kind of deprivations of liberty that requires procedural protections.”).
                  2               “The substantive due process right to family integrity or to familial association is
                  3        [also] well established.” Rosenbaum v. Washoe Cty., 663 F.3d 1071, 1079 (9th Cir.
                  4        2011); see also Santosky v. Kramer, 455 U.S. 745, 753 (1982) (holding that parents and
                  5        children have a well-elaborated constitutional right to live together without government
                  6        interference); Ching v. Mayorkas, 725 F.3d 1149, 1157 (9th Cir. 2013) (“The right to
                  7        live with and not be separated from one’s immediate family is ‘a right that ranks high
                  8        among the interests of the individual’ and that cannot be taken away without procedural
                  9        due process.”); D.B. v. Cardall, 826 F.3d 721, 740 (4th Cir. 2016) (children “enjoy a
               10          familial right to be raised and nurtured by their parents”) (internal quotation marks
               11          omitted); Beltran v. Cardall, 222 F. Supp. 3d 476, 482 (E.D. Va. 2016) (“It is beyond
               12          dispute that [a mother’s] right to the care and custody of her son – and [a son’s]
               13          reciprocal right to his mother’s care . . . is deserving of the greatest solicitude.”) (internal
               14          quotation marks and citation omitted).
               15                 Numerous courts have also held that a child’s right to familial association is not
               16          limited to parents. See Moore v. City of East Cleveland, 431 U.S. 494, 504 (1977) (“The
               17          tradition of uncles, aunts, cousins, and especially grandparents sharing a household
               18          along with parents and children has roots equally venerable and equally deserving of
               19          constitutional recognition.”); J.E.C.M. v. Lloyd, 352 F. Supp. 3d 559, 585 (E.D. Va.
               20          2018) (rejecting argument that child’s interest in family unity is unique to parents, and
               21          finding “siblings, aunts or uncles, grandparents, or first cousins” are family “captured
               22          in ORR’s second-level category of would-be sponsors” and also “constitutionally
               23          significant”); Aristotle P. v. Johnson, 721 F. Supp. 1002, 1006 (N.D. Ill. 1989) (children
               24          have “constitutionally protected right to associate with their siblings”).
               25                 TVPRA. The TVPRA creates a protected liberty interest to be “promptly” placed
               26          “in the least restrictive setting that is in the best interest of the child,” generally with “a
               27          suitable family member” or other available guardian or entity. 8 U.S.C. § 1232(c)(2)(A)
               28          (“[A]n unaccompanied alien child . . . shall be promptly placed in the least restrictive
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                  1        setting that is in the best interest of the child.”) (emphasis added). The TVPRA also
                  2        prescribes ORR’s duty to place children in non-secure facilities: “A child shall not be
                  3        placed in a secure facility absent a determination that the child poses a danger to self or
                  4        others or has been charged with having committed a criminal offense.” Id. (emphasis
                  5        added); see Carver, 558 F.3d at 872–73 (statute creates constitutionally protected
                  6        interest if it contains “explicitly mandatory language”); ECF No. 141 at 13-14.
                  7              FSA. The FSA creates protected liberty interests in the right to expeditious
                  8        release from detention and the right to family reunification. (See ECF No. 141 at 14-15
                  9        (finding FSA protections “are secured by a consent decree and constitute civil rights
               10          because they are akin to . . . constitutional and statutory rights”).) Paragraph 14, for
               11          example, mandates that, where detention is not necessary to secure a minor’s timely
               12          appearance or ensure safety of the minor or others, “[ORR] shall release a minor from
               13          its custody without unnecessary delay, in the following order of preference, to: A. a
               14          parent; B. a legal guardian; C. an adult relative (brother, sister, aunt, uncle, or
               15          grandparent) . . . E. a licensed program willing to accept legal custody; F. an adult
               16          individual or entity seeking custody . . . .” (Ex. 8 [FSA] ¶ 14 (emphasis added).)
               17          Similarly, Paragraph 18 provides that “[ORR] . . . shall make and record the prompt
               18          and continuous efforts on its part toward family reunification and the release of the
               19          minor pursuant to Paragraph 14 above.” (Id. ¶ 18 (emphasis added).)
               20                Notably, the rights created by the FSA are not tethered to the degree of relation
               21          to the prospective sponsor. Put differently, the FSA grants all Class Members the right
               22          to prompt release from detention; it does not give Class Members a lesser right to
               23          prompt release depending on the degree of kinship with or availability of sponsors.
               24                The FSA also creates a constitutionally protected liberty interest in non-secure,
               25          licensed facilities: “Except as provided in Paragraphs 12 or 21, such minor shall be
               26          placed temporarily in a licensed program until such time as release can be effected . . .
               27          or until the minor’s immigration proceedings are concluded, whichever occurs earlier.”
               28          (Ex. 8 [FSA] ¶ 19 (emphasis added).) Further, “[a] licensed program . . . shall be non-
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                  1        secure as required under state law” and “licensed by an appropriate State agency to
                  2        provide . . . care services for dependent children.” (Id. ¶ 6 (emphasis added).) This
                  3        Court has already determined that RTCs and juvenile detention centers are not “licensed
                  4        programs” within the meaning of the FSA. See Flores v. Sessions, No. 2:85-cv-4544-
                  5        DMG (AGRx), ECF No. 470 at 11-14 (C.D. Cal. July 30, 2018). The FSA enumerates
                  6        limited circumstances under which ORR may place children in unlicensed facilities—
                  7        e.g., when a child has committed a violent crime, is an unusual escape risk, or is so
                  8        disruptive that secure confinement is necessary to ensure the welfare of the minor or
                  9        others—but even then, requires that no “less restrictive alternatives [be] available.” (Ex.
               10          8 [FSA] ¶¶ 21, 23.)
               11                These provisions of the FSA create constitutionally protected liberty interests for
               12          the custodial vetting and step-up Class Members. See Sumner, 994 F.2d at 1406.
               13                B.     ORR’s Policies Lack Even Minimal Due Process
               14                ORR’s policies and procedures for release and step-up or step-down of minors
               15          are constitutionally inadequate because ORR deprives children of liberty without any
               16          hearing or meaningful legal process.
               17                The observations of the judicious Blackstone . . . are well worthy of recital:
                                 “To bereave a man of life . . . or by violence to confiscate his estate, without
               18
                                 accusation or trial, would be so gross and notorious an act of despotism as
               19                must at once convey the alarm of tyranny throughout the whole nation; but
                                 confinement of the person, by secretly hurrying him to jail, where his
               20
                                 sufferings are unknown or forgotten, is a less public, a less striking, and
               21                therefore a more dangerous engine of arbitrary government.”
               22          C. Rossiter ed., p. 512 (1961) (quoting 1 Blackstone *136). Yet, here, the most
               23          vulnerable children—unaccompanied immigrant children—are denied release to family
               24          and other willing sponsors and locked in jails and psychiatric centers without anything
               25          remotely close to a hearing. 13
               26
                           13
               27            The law grants even less vulnerable groups more protections than detained
                           unaccompanied immigrant children. See e.g. Boumediene v. Bush, 553 U.S. 723, 783-
               28
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                  1              Courts have long applied the Mathews v. Eldridge balancing test to “assess
                  2        whether the government has provided ‘the core due process protection of a meaningful
                  3        hearing.’” Hicks v. Comm’r of Soc. Sec., 909 F.3d 786, 797 (6th Cir. 2018). But where,
                  4        as here, the government’s decision depends on factual findings and plaintiffs are denied
                  5        the opportunity to be heard at all, the court need not weigh the interests at stake under
                  6        the Mathews balancing test. See id. at 797 (concluding that procedures “violate long-
                  7        standing principles of procedural due process that predate the Mathews test”).
                  8              At a minimum, due process requires notice and “a fair opportunity to rebut the
                  9        Government’s factual assertions before a neutral decisionmaker.” Hamdi, 542 U.S. at
               10          533; Doe v. Gallinot, 657 F.2d 1017, 1024 (9th Cir. 1981); see also Bowman Transp. v.
               11          Arkansas Best Freight Sys., 419 U.S. 281, 288 n. 4 (1974) (“[T]he Due Process Clause
               12          forbids an agency to use evidence in a way that forecloses an opportunity to offer a
               13          contrary presentation.”); Goldberg v. Kelly, 397 U.S. 254, 269 (1970) (“In almost every
               14          setting where important decisions turn on questions of fact, due process requires an
               15          opportunity to confront and cross-examine adverse witnesses.”).
               16                One such “immutable” principal of due process is that “where governmental
               17          action seriously injures an individual, and the reasonableness of the action depends on
               18
               19          84 (2008) (requiring sufficient process for suspected terrorists held at Guantanamo,
               20          including the rights to assistance of counsel, notice of allegations, presentation of
                           evidence and cross-examination of witnesses against them where a court “must have
               21          sufficient authority to conduct a meaningful review of both the cause for detention and
               22          the Executive’s power to detain”); Hamdi v. Rumsfeld, 542 U.S. 507, 533 (2004)
                           (plurality) (finding that enemy combatant has right to “notice of the factual basis for his
               23          classification, and a fair opportunity to rebut the Government’s factual assertions before
               24          a neutral decisionmaker.”); United States v. Salerno, 481 U.S. 739, 751-52 (1987)
                           (upholding Bail Reform Act as providing sufficient process, where pretrial detainees
               25          were provided counsel, right to present evidence, cross-examine witnesses and testify
               26          in front of a neutral judicial officer at detention hearing); Kansas v. Hendricks, 521 U.S.
                           346, 353 (1997) (upholding sexually violent predator statute where procedural
               27          safeguards of counsel, the right to present and rebut evidence and witnesses, and the
               28          burden of proof is on the government).
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                  1        fact findings, the evidence used to prove the Government’s case must be disclosed to
                  2        the individual so that he has an opportunity to show that it is untrue.” Beltran, 222 F.
                  3        Supp. 3d at 485 (quoting Greene v. McElroy, 360 U.S. 474, 496 (1959)) (finding that
                  4        “notice” provided to proposed custodian was made “in exceedingly general terms” and
                  5        that such an “opaque procedure deprived Petitioner of any opportunity to contest ORR’s
                  6        findings, and thus any meaningful opportunity to alter its conclusions”); Saravia v.
                  7        Sessions, 905 F.3d 1137, 1144 (9th Cir. 2018) (“Due process always requires, at
                  8        minimum, notice and an opportunity to respond.”); see also Logan v. Zimmerman Brush
                  9        Co., 455 U.S. 422, 434 (1982).
               10                ORR’s refusal to permit children and their custodians the opportunity to inspect
               11          and rebut evidence material to ORR’s decision-making before a neutral factfinder
               12          offends the most “basic tenet[s]” of due process. See Hicks, 909 F.3d at 797 (collecting
               13          cases); see also Zerezghi v. U.S. Citizenship and Immigr. Serv., 955 F.3d 802, 810–12
               14          (9th Cir. 2020) (government violated due process where it failed to provide the evidence
               15          it relied upon in making its decision thereby denying plaintiffs the opportunity to rebut
               16          the evidence); ASSE Int’l, Inc. v. Kerry, 803 F.3d 1059, 1075 (9th Cir. 2015) (same).
               17          This denial of even minimally required procedural protections is itself a violation of due
               18          process and grounds for granting summary judgment in Plaintiffs’ favor on their First
               19          and Second Claims for Relief.
               20                C.     ORR’s Policies Fail to Provide a Hearing as Required Under the APA
               21                The Administrative Procedure Act (“APA”) regulates federal administrative
               22          proceedings in “every case of adjudication required by statute to be determined on the
               23          record after [the] opportunity for an agency hearing.” 5 U.S.C. § 554(a).14 The Supreme
               24
                           14
                             There can be no dispute that ORR’s decisions regarding the fitness of prospective
               25
                           custodians and restrictive placement are adjudicatory. As the Ninth Circuit has held,
               26          adjudicatory decisions are those that “determine the specific rights of particular
               27          individuals.” See Marathon Oil Co. v. EPA, 564 F.2d 1253, 1261 (9th Cir. 1977).
                           Relevant here, ORR is adjudicating matters directly related to children’s rights to (i)
               28
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                  1        Court has determined that the APA applies with equal, if not more, force when a hearing
                  2        is required by the Constitution. See Wong Yang Sung v. McGrath, 339 U.S. 33, 50
                  3        (1950), superseded in part by statute on other grounds Ardestani v. I.N.S., 502 U.S. 129
                  4        (1991). In Wong Yang Sung, the Supreme Court held that the APA’s “limitation to
                  5        hearings ‘required by statute’” “exempts from that section’s application only those
                  6        hearings which administrative agencies may hold by regulation, rule, custom, or special
                  7        dispensation; not those held by compulsion.” Id. (emphasis added). In other words, they
                  8        “exempt hearings of less than statutory authority, not those of more than statutory
                  9        authority.” Id.; see also Aageson Grain & Cattle v. U.S. Dep’t of Agric., 500 F.3d 1038,
               10          1043-44 (9th Cir. 2007) (“[T]he APA generally applies where an administrative hearing
               11          is required by statute or the Constitution.”) (emphasis added).
               12                As established in Section IV.A, supra, the Government’s decisions denying
               13          release of Plaintiffs to proposed custodians and to initially place or step-up or step-down
               14          minors directly implicates Plaintiffs’ liberty interests in freedom from detention and
               15          rights to familial association. And because these decisions depend on factual findings,
               16          due process requires at a minimum notice and a hearing. (See supra Section IV.B.)
               17                Where the Constitution requires a hearing, as it does here, the APA prescribes
               18          the procedures that must be provided. See Wong Yang Sung, 339 U.S. at 51, 53; 5 U.S.C.
               19          §§ 554, 556, 557. Thus, ORR must provide children in its custody: (1) “notice” of the
               20          hearing; (2) the opportunity to present his or her “case or defense by oral or
               21          documentary evidence”; (3) “to submit rebuttal evidence”; and (4) “to conduct such
               22          cross-examination as may be required for a full and true disclosure of the facts.” 5 U.S.C
               23          §§ 554(b)-(d), 556(d). And if any agency decision “rests on official notice of a material
               24          fact not appearing in the evidence in the record,” the party is “entitled to an opportunity
               25          to show the contrary.” 5 U.S.C § 556(e). ORR’s policies with respect to determining
               26
               27          physical liberty, (ii) family integrity, (iii) least restrictive placement consistent with
               28          their best interests, and (iv) release without unnecessary delay to qualified custodians.
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                  1        custodians’ fitness and restrictive placement fail to afford these basic protections.
                  2        Accordingly, the Court should order ORR to afford detained children prompt in-person
                  3        hearings consistent with the procedures mandated by the APA.
                  4              D.     Mathews v. Eldridge Also Entitles Plaintiffs to Procedural Safeguards.
                  5              Courts use the three-factor test articulated in Mathews v. Eldridge to determine
                  6        which procedural protections are warranted:
                  7              First, the private interest that will be affected by the official action; second,
                  8              the risk of an erroneous deprivation of such interest through the procedures
                                 used, and the probable value, if any, of additional or substitute procedural
                  9              safeguards; and finally, the Government’s interest, including the function
               10                involved and the fiscal and administrative burdens that the additional or
                                 substitute procedural requirement would entail.
               11
               12          424 U.S. at 335. Plaintiffs’ interests in freedom from detention and familial association
               13          and their right to placement in the least restrictive setting are substantial and far
               14          outweigh Defendants’ interests in denying basic procedural protections.
               15                       1.     ORR’s custodial vetting policies and                  procedures      are
               16                              constitutionally inadequate under Mathews.
               17                              a.     Plaintiffs’ interests are substantial.
               18                It is well-established that a minor’s interests in freedom from detention and
               19          familial association are substantial. See, e.g., Schall v. Martin, 467 U.S. 253, 265 (1984)
               20          (“The juvenile’s countervailing interest in freedom from institutional restraints, even
               21          for the brief time involved here, is undoubtedly substantial as well.”); Singh, 638 F.3d
               22          at 1208 (“The private interest here—freedom from prolonged detention—is
               23          unquestionably substantial”); Foucha, 504 U.S. at 80 (“Freedom from bodily restraint
               24          has always been at the core of the liberty protected by the Due Process Clause from
               25          arbitrary governmental action.”); Beltran, 222 F. Supp. 3d at 482 (“In light of the right
               26          at issue [family integrity] and the magnitude of the government’s intrusion upon it,
               27          Respondents must counterbalance the first Mathews factor with a strong showing under
               28          the second and third factors”).
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                  1              The profound harm that detention causes for children is uniformly recognized by
                  2        scholars and researchers worldwide. (SUF ¶ 1.) And here, the undisputed facts
                  3        demonstrate that children are at risk of harm in ORR custody. Children have been
                  4        physically abused and sexually abused in ORR custody. (SUF ¶¶ 6–7.) Gabriela N.
                  5        experienced verbal abuse and harassment and suicidal ideation in ORR custody, which
                  6        resulted in hospitalization. (SUF ¶ 5.) And it is beyond dispute that children in ORR
                  7        custody experience separation from their parents, siblings, grandparents, and other
                  8        family members. (SUF ¶ 8.)
                  9                          b.   Plaintiffs have been prejudiced by ORR’s erroneous
                                                  deprivations of liberty in its release decisions and the
               10                                 value of additional safeguards is undisputable.
               11                The prejudice and risk of an erroneous deprivation of a child’s liberty without
               12          adequate procedural safeguards is high. Given the substantial interests at play, and the
               13          inherent harms of detention, children are entitled to robust procedural protections.
               14          Moreover, “[t]he consequences of an erroneous commitment decision are more tragic
               15          where children are involved” because “childhood is a particularly vulnerable time of
               16          life and children erroneously institutionalized during their formative years may bear the
               17          scars for the rest of their lives.” Reno v. Flores, 507 U.S. 292, 318 (1993) (O’Connor,
               18          J. and Souter, J., concurring) (internal citations omitted).
               19                Accordingly, at least the following procedural protections are necessary to guard
               20          against the risk of erroneous deprivation of Plaintiffs’ substantial interests in freedom
               21          from detention and familial association: (i) adequate notice and an opportunity to be
               22          heard; (ii) clear standards for determining custodial fitness; (iii) timelines to ensure
               23          prompt release; (iv) right to counsel; and (v) interpreters. Because these safeguards
               24          would reduce the risk of erroneous, prolonged, and harmful detention, this factor weighs
               25          heavily in favor of granting relief.
               26                                     (i)    ORR’s failure to provide adequate notice and an
                                                             opportunity to be heard harms Plaintiffs’ interests.
               27
               28                Generally, the Constitution requires some kind of a hearing before a deprivation
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                  1        of property or liberty. Zinermon v. Burch, 494 U.S. 113, 127-28 (1990) (collecting
                  2        cases). Due process requires “an opportunity to be heard in person and to present
                  3        documentary evidence,” as well as “[a]n opportunity at the hearing to present testimony
                  4        of witnesses . . . and to confront and cross-examine witnesses called by the state, except
                  5        upon a finding, not arbitrarily made, of good cause for not permitting such presentation,
                  6        confrontation, or cross-examination.” Vitek, 445 U.S. at 494; Schall, 467 U.S. at 277
                  7        (due process satisfied where accused juvenile was provided a hearing to call witnesses
                  8        and offer evidence on his own and where government was allowed to call witnesses
                  9        under oath and witnesses were subject to cross examination); Beltran, 222 F. Supp. 3d
               10          at 486 (holding that once ORR decided to withhold minor from the care of his mother,
               11          “ORR owed [the mother] some form of adversarial process, and could not simply
               12          require [the mother] to change the agency’s mind”); see also Logan, 455 U.S. at 433;
               13          D.B. v. Cardall, 826 F.3d at 743.
               14                At least two courts have already found ORR’s reunification policies violate due
               15          process. In Beltran v. Cardall, the court held that ORR’s failure to provide adequate
               16          notice and adversarial hearing procedures failed to make sponsors “aware of any of the
               17          evidence or factual findings upon which ORR relied” and improperly placed the burden
               18          on the sponsor to “change the agency’s mind,” or, if unable to do so, “initiate court
               19          proceedings.” 222 F. Supp. 3d at 485. The court also found:
               20                Virtually all of [ORR’s] procedures . . . consisted of internal evaluation
               21                and unilateral investigation. In effect, Respondents contend that due
                                 process was satisfied here because ORR made a significant effort to reach
               22                the correct decision. But due process does not concern itself only with the
               23                degree to which one can trust the government to reach the right result
                                 on its own initiative; rather, due process is measured by the affected
               24                individual’s opportunity to protect his or her own interests.
               25
               26          Id. at 486-87 (emphasis added). Likewise, in Santos v. Smith, the court found all of the
               27          same due process deficiencies to exist and noted that they contributed to an increased
               28          risk of erroneous deprivation, finding that “had better or more process been given
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                  1        especially as to the delay and the burden being on Ms. Santos to initiate and justify
                  2        reunification, rather than the default rule being otherwise, the outcome could have been
                  3        different.” 260 F. Supp. 3d 598, 614 (W.D. Va. 2017).
                  4               Here, it is undisputed that “children are not provided a written denial of a
                  5        proposed custodian’s release request, unless the sole reason for the denial is a concern
                  6        that the unaccompanied alien child is a danger to himself/herself or the community.”
                  7        (SUF ¶ 70; see SUF ¶ 86 (Lucas R. did not know reasons sister was rejected, and neither
                  8        he nor his sister were provided written explanation for rejection); SUF ¶ 85 (Gabriela
                  9        N.’s proposed custodian was her grandfather, yet he was not provided written notice of
               10          the reasons for rejection); Ex. 138 [J.F.A. Decl.] ¶ 12 (ORR never officially told
               11          Gabriela N.’s grandfather that his sponsorship application had been denied or that they
               12          were looking for other sponsors).) It is also undisputed that ORR does not have a policy
               13          requiring it to provide an opportunity to inspect or rebut evidence that ORR considers
               14          in determining whether a child should be released to a proposed custodian. (SUF ¶ 75.)
               15                 It is further undisputed that ORR does not, in policy or practice, provide children
               16          or sponsors a hearing to challenge an anticipated denial of a proposed custodian’s
               17          release request, much less any opportunity to offer input designed to rebut ORR’s
               18          decision. (SUF ¶ 74–77.) Accordingly, the Court should find ORR’s policies and
               19          procedures deficient, and order Defendants to provide Class Members with notice and
               20          a hearing. 15
               21
               22
               23
                           15
               24            It is similarly undisputed that, with very limited exception, ORR fails to allow Class
                           Members, or their sponsors, any opportunity to appeal its finding that a proposed
               25          custodian is unfit, much less within any certain timeframe. (SUF ¶¶ 77–80.) At most,
               26          only parents and legal guardians, and no other class of proposed sponsors—regardless
                           of familial relation or other connection—are allowed an appeal; even then, ORR’s
               27          policies do not require that ORR provide a hearing on an appeal within any time certain.
               28          (SUF ¶ 80.)
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                  1                                   (ii)   ORR’s failure to apply clear standards for
                                                             determining custodial fitness harms Plaintiffs’
                  2                                          interests.
                  3              Clear standards for determining custodial fitness would protect Plaintiffs against
                  4        ORR’s unchecked discretion. In L.V.M. v. Lloyd, for example, children detained by
                  5        ORR challenged a new policy requiring director-level approval to release children who
                  6        were currently or previously detained in staff-secure or secure facilities. 318 F. Supp.
                  7        3d 601, 608-09 (S.D.N.Y. 2018). The court found that “[u]nder a policy of his own
                  8        making, [the director] has unfettered discretion to approve, deny, or request additional
                  9        information, unguided by any rule or fixed set of criteria, giving him unrestricted power
               10          to rule over the fate of vulnerable children.” Id. at 611. The court ordered ORR to vacate
               11          the policy, calling it “the zenith of impermissible agency actions.” Id. at 609; see also
               12          Staub v. City of Baxley, 355 U.S. 313, 322 (1958) (finding unconstitutional official’s
               13          “uncontrolled discretion” based on decision criteria “without semblance of definitive
               14          standards or other controlling guidelines”).
               15                The same arguments apply to ORR’s current approach to determining custodial
               16          fitness. First, ORR admits that, in making release decisions, “ORR does not use an
               17          ‘evidentiary’ standard such as is more appropriately applied in formal court
               18          proceedings.” (SUF ¶¶ 61–62, 93.) Second, ORR’s written policies offer only limited
               19          instructions to case staff in making reunification decisions, none of which is published
               20          in the Federal Register or a Notice of Proposed Rulemaking and is therefore shielded
               21          from public scrutiny. (SUF ¶ 63.) Further, the limited guidance only instructs staff what
               22          general categories of information to collect and consider, but not how to weigh
               23          information once collected. (E.g., SUF ¶ 59.) Third, the undisputed evidence confirms
               24          that the vast discretion afforded to case staff has resulted in arbitrary, inconsistent, and
               25          shifting reasons for denial. (See SUF ¶ 38 (sponsor deemed non-viable by case staff at
               26          one facility and then approved two weeks later after child was transferred to different
               27          facility); SUF ¶ 82 (child’s sister denied as sponsor because child and sister did not have
               28
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
     L O S A N GE L E S                                               32               F OR P ARTIAL SUMMARY JUDGMENT
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                  1        same last name).) 16
                  2              Where, as here, “the individual interests at stake . . . are both particularly
                  3        important and more substantial than mere loss of money,” fundamental fairness requires
                  4        ORR to apply clear standards under a heightened standard of proof. Santosky, 455 U.S.
                  5        at 756 (“clear and convincing evidence” standard appropriate where government-
                  6        initiated proceedings . . . threaten the individual involved with a significant deprivation
                  7        of liberty or stigma”) (internal quotation marks and citations omitted).
                  8                                  (iii)   ORR’s failure to provide for prompt release harms
                  9                                          Plaintiffs’ interests.
               10                Courts have already found that ORR’s “significant” and “unexplained delay[s] in
               11          responding to [a proposed sponsor’s] unification request” violate due process
               12          irrespective of other procedural defects. Santos, 260 F. Supp. 3d at 614. Indeed, timely
               13          process is required to ensure that ORR is not allowing Class Members to languish in
               14          custody indefinitely. (See SUF ¶ 29; see also Flores v. Sessions, No. 2:85-cv-4544-
               15          DMG (AGRx), 2018 WL 10162328, at *21 (C.D. Cal. July 30, 2018) (finding ORR’s
               16          policies caused unnecessary delay, at least in part, because (1) they were not required
               17          by the TVPRA or FSA, and (2) were not deemed necessary in analogous state child
               18          welfare contexts); Flores v. Barr, No. CV 85-4544-DMG (AGRx), 2020 WL 2758798,
               19          at *3 (C.D. Cal. Apr. 10, 2020) (“Any unnecessary delay in releasing a minor is, under
               20          normal circumstances, a violation of the FSA . . . .”).
               21                Even so, it is undisputed that “ORR does not have a policy requiring it to make a
               22          final suitability determination regarding a proposed sponsor within any specific
               23          timeline.” (SUF ¶ 96.) In fact, Defendants admit that “it may take several months before
               24          ORR reaches a conclusion concerning whether a proposed sponsor is capable of
               25          providing for a child’s physical and mental well-being and is otherwise suitable.” (SUF
               26
               27          16
                            ORR similarly uses vague criteria to assess a sponsor’s ability to care for a child’s
               28          mental health needs prior to authorizing release. (See SUF ¶ 58.)
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
     L O S A N GE L E S                                              33                F OR P ARTIAL SUMMARY JUDGMENT
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                  1        ¶ 66; see also SUF ¶ 48 (ORR’s choice to require all household members to submit
                  2        fingerprints can cause “significant[] delay[].”); SUF ¶¶ 44–45 (home studies prolong
                  3        detention). Even after ORR makes its final determination, ORR policy does not require
                  4        that proposed custodians other than parents or legal guardians be notified of the
                  5        determination within any set time period. (SUF ¶ 72.)
                  6              The undisputed evidence also confirms that children are often in ORR custody
                  7        for significant periods of time even when they have available sponsors. Gabriela N., for
                  8        example, was in ORR custody for 633 days—nearly two years—despite her grandfather
                  9        being ready and willing to sponsor her release. (SUF ¶ 25.) ORR rejected Gabriela N.’s
               10          grandfather’s sponsorship application and failed to provide written notice of its
               11          rejection—or the reasons for that rejection—to Gabriela N. or her grandfather. (SUF
               12          ¶ 85.) Lucas R. was in ORR custody for 208 days, despite two different siblings
               13          applying to sponsor him. (SUF ¶ 26, 49.) These experiences are representative of other
               14          Class Members who have been detained for extended periods of time in ORR custody,
               15          at least one of whom was in ORR custody for more than four years. (SUF ¶ 27; see also
               16          Stanley v. Ill., 405 U.S. 645, 647 (1972) (even a temporary deprivation of the right to
               17          family integrity is constitutionally significant); D.B. v. Cardall, 826 F.3d at 741 (ORR’s
               18          continued and prolonged detention of children “implicates protected liberty interests”);
               19          cf. In re Robin M., 21 Cal. 3d 337, 342-43 (1978) (expressing disapproval over “the
               20          practice of detaining a child one to six months prior to [a] juvenile court hearing” as
               21          inconsistent “with the protective philosophy of the juvenile court”).)
               22                Each of the foregoing failures, and the risk of erroneous deprivation, is further
               23          compounded by substantial, undisputed evidence of the inherent harm in detention.
               24          (SUF ¶¶ 1–4, 6–7.) Accordingly, the Court should order ORR to comply with the
               25          timelines set forth in the concurrently filed Proposed Order.
               26                                    (iv)   ORR’s failure to provide counsel to challenge
                                                            release denials harms Plaintiffs’ interests.
               27
               28                Plaintiffs’ right to counsel is both constitutionally and statutorily guaranteed, see
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A T T O RNE YS A T L A W                                                                                MEM. ISO MOT.
     L O S A N GE L E S                                              34               F OR P ARTIAL SUMMARY JUDGMENT
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                  1        infra Section V, and the importance of counsel in legal proceedings where life or liberty
                  2        is at stake is beyond cavil. The right to be heard is of “little avail if it d[oes] not
                  3        comprehend the right to be heard by counsel. Powell v. Alabama, 287 U.S. 45, 68-69
                  4        (1932).
                  5                                  (v)    ORR’s failure to provide interpreters harms
                                                            Plaintiffs’ interests.
                  6
                  7              Appellate and district courts have routinely held that due process requires the
                  8        assistance of an interpreter, including in the immigration context. See Augustin v. Sava,
                  9        735 F.2d 32, 36–37 (2d Cir. 1984); Rivera v. Granucci, 1993 WL 76202, at *6 (D.
               10          Conn. Mar. 12, 1993).
               11                In a judicial proceeding where a defendant lacks the ability to speak or
                                 understand English, an interpreter can be essential for ensuring a fair trial.
               12                . . . Under the Court Interpreters Act, a trial judge must use an interpreter
               13                in the courtroom if that judge determines that a party “speaks only or
                                 primarily a language other than the English language . . . so as to inhibit
               14                such party’s comprehension of the proceedings or communication with
               15                counsel or the presiding judicial officer.”
                           United States v. Si, 333 F.3d 1041, 1042 (9th Cir. 2003) (quoting 28 U.S.C.
               16
                           § 1827(d)(1)).
               17
                                 It is undisputed that ORR’s written policies do not guarantee the right to an
               18
                           interpreter. (SUF ¶ 264.) Class Members nonetheless have the right to notice and an
               19
                           opportunity to be heard and should be entitled to an interpreter as part of that process.
               20
               21                                    (vi)   ORR’s failure to afford due process runs contrary
                                                            to prevailing state and federal child welfare
               22                                           practices.

               23                 “Appellate tribunals have accorded district courts broad discretion to frame
               24          equitable remedies so long as the relief granted is commensurate with the scope of the
               25          constitutional infraction.” Todaro v. Ward, 565 F.2d 48, 54 n. 7 (2d Cir.1977) (citations
               26          omitted). Due process likewise “is flexible and calls for such procedural protections as
               27          the particular situation demands.” Mathews, 424 U.S. at 334–35.
               28                State and other federal systems provide useful analogs for the types of protections
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A T T O RNE YS A T L A W                                                                                MEM. ISO MOT.
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                  1        and safeguards necessary here. See Schad v. Arizona, 501 U.S. 624, 640 (1991) (In
                  2        certain cases, a “widely shared practice” can help inform whether a particular practice
                  3        so drastically departs from accepted norms as to be presumptively violative of due
                  4        process). For example, in California, child welfare agencies must promptly involve the
                  5        juvenile court whenever the agency removes a child from their home. (Ex. 53 [Edwards
                  6        Expert Rep.] at 1334.) The juvenile court in turn provides a number of procedural
                  7        protections to children separated from their families, including the right to notice and
                  8        an opportunity to be heard, the right to a trained, neutral factfinder who applies
                  9        consistent evidentiary standards, and the right to appeal. (Id. at 1335.)
               10                Indeed, dependency hearings are “evidentiary hearings, where children have the
               11          right to review and rebut adverse evidence, including rebutting the evidence of adverse
               12          witnesses.” (Id. at 1336.) And the system relies upon “[c]lear statutory timelines” for
               13          hearings and dispositions, which “move children’s cases forward toward timely
               14          permanency.” (Id. at 1337.) As explained by Plaintiffs’ expert, Judge Leonard Edwards,
               15          “the procedural protections afforded to children and youth in the U.S. child welfare
               16          system improve the quality of the decisions made in dependency proceedings and
               17          minimize the risk of erroneous deprivation of the rights of children in the child welfare
               18          system.” (Id. at 1326, 1338; see also Ex. 54 [Heldman Expert Rep.] at 1350 (finding
               19          that “ORR’s policies and procedures for transferring and keeping children in restrictive
               20          settings are far more informal and prone to error when compared to the procedures
               21          provided in state and federal juvenile justice and child welfare statutes.”).) According
               22          to Judge Edwards: “In most of the thousands of cases I heard, what happened at the
               23          court hearing . . . modified in some way the recommendation of the social worker.”
               24          (Ex. 53 [Edwards Expert Rep.] at 1339.) By contrast, the undisputed facts show that
               25          FFS—and therefore ORR—have virtually unfettered discretion to deny Plaintiffs’
               26          liberty interests and, further, that Plaintiffs have no ability to challenge those decisions.
               27          (SUF ¶¶ 37, 46, 57–59, 77–80; see also Ex. 53 [Edwards Expert Rep.] at 1339
               28          (concluding that ORR’s procedures “fall far short of the procedures provided in the U.S.
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A T T O RNE YS A T L A W                                                                                  MEM. ISO MOT.
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                  1        child welfare system”); Ex. 54 [Heldman Expert Rep.] at 1354 (pointing out that “in the
                  2        child welfare system, procedural protections center on the rights of parents and children
                  3        to maintain the parent-child relationship”).)
                  4              More process will improve government decision-making and reduce the risk of
                  5        erroneous deprivation of the substantial liberty interests at stake. Accordingly, this
                  6        Court should compel ORR to: (i) provide adequate notice and an opportunity to be heard
                  7        with respect to release decisions; (ii) articulate and adhere to clear standards in its
                  8        decision-making; (iii) adhere to timelines to ensure prompt release; (iv) provide the
                  9        right to counsel in release proceedings; and (v) guarantee interpreters.
               10                              c.    Plaintiffs’ liberty interests far outweigh the government’s
                                                     interest.
               11
               12                The government’s interest is “to place a child in a home suited to the child’s
               13          welfare and needs,” and “that goal [i]s best served by ‘procedures that promote an
               14          accurate determination of whether [custodians] can and will provide a normal home.’”
               15          J.E.C.M., 352 F. Supp. 3d at 586 (quoting Santosky, 455 U.S. 745); see also Lassiter v.
               16          Dep’t of Soc. Servs. of Durham Cnty., 452 U.S. 18, 27 (1981) (“Since the State has an
               17          urgent interest in the welfare of the child, it shares the parent’s interest in an accurate
               18          and just decision.”).
               19                Here, Plaintiffs’ interests in being free from detention and to familial association
               20          far outweigh the government’s interests, fiscal, administrative or otherwise. See
               21          Beltran, 222 F. Supp. 3d at 482 (Defendants must make “strong showing under the
               22          second and third [Mathews] factors” in light of substantiality of Plaintiffs’ interests);
               23          see also Flores-Chavez v. Aschcroft, 362 F.3d 1150, 1161 (9th Cir. 2004); Rivera v.
               24          Cty. Of Los Angeles, 2011 WL 2650006, at *13 (C.D. Cal. July 5, 2011). To be sure,
               25          ORR denies that the principal reason it does not afford Class Members greater
               26          procedural protections is because it would entail greater expense and administrative
               27          inconvenience. (SUF ¶ 81.)
               28                Accordingly, the Court should find that Defendants have failed to afford
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
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                  1        Plaintiffs with basic due process protections and enter the relief requested in Plaintiffs’
                  2        Proposed Order filed concurrently herewith.
                  3                     2.     ORR’s restrictive placement policies and procedures are
                                               constitutionally inadequate.
                  4
                                               a.    Plaintiffs’ interests are substantial.
                  5
                  6              Plaintiffs’ interests in freedom from detention and familial association are
                  7        substantial. See, e.g., Schall, 467 U.S. at 265 (freedom from institutional restraints);
                  8        Singh, 638 F.3d at 1208; Foucha, 504 U.S. at 80; Beltran, 222 F. Supp. 3d at 482; see
                  9        supra Section IV.A. Even more so when placed in ORR’s secure detention facilities
               10          which are akin to jails and prisons. (SUF ¶ 128; supra Section II.C.) Children are
               11          confined to locked facilities, subject to 24-hour surveillance, and treated like criminals.
               12          (SUF ¶ 131.) They sleep in cells on concrete beds and are subject to being pepper
               13          sprayed by guards. (SUF ¶ 130.) In RTC facilities, children face the added indignity of
               14          being forced to take psychotropic medications. (SUF ¶¶ 133–34.)
               15                Moreover, once stepped up: (i) children spend significantly longer detained and
               16          separated from family—on average 131.2 days longer than children not stepped up
               17          (SUF ¶ 141); (ii) children remain in restrictive placements despite ORR’s having found
               18          them suitable for step-down (SUF ¶ 137); (iii) children detained in secure, staff-secure,
               19          therapeutic staff-secure, RTCs, OON facilities, or therapeutic group homes are less
               20          likely to be reunified with a proposed custodian (SUF ¶¶ 144–45), and more likely to
               21          voluntarily depart the United States than children who are only ever placed in shelter
               22          care (SUF ¶¶ 146–47); and (iv) children who are stepped up are unlikely to be released
               23          to URM programs (SUF ¶¶ 148–49), and are ineligible for step-down to long-term
               24          foster care programs (SUF ¶ 139). Even more concerning, restrictive placements can
               25          lead to deterioration of children’s mental health (SUF ¶ 136), and ORR admits that
               26          failing to step-down children who are ready for step-down can be detrimental to their
               27          long-term psychological well-being and contrary to their best interests. (SUF ¶ 138).
               28                Accordingly, it is uncontroverted that the step-up Class Members’ interest is
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
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                  1        significant and substantial. Thus, the first Mathews factor weighs strongly in favor of
                  2        due process protections.
                  3                               b.    Plaintiffs have been prejudiced by ORR’s erroneous
                                                        deprivations of liberty in its step-up and step-down
                  4                                     decisions and the value of additional safeguards is
                                                        undisputable.
                  5
                  6                 The prejudice and risk of erroneous deprivation of placing children in restrictive
                  7        facilities without commensurate procedural safeguards is high, particularly when it
                  8        results in children spending much longer time in ORR custody away from family. (See
                  9        supra Section II.C.) ORR’s opaque process also has resulted in numerous erroneous
               10          decisions—either sending children to unnecessarily restrictive detention centers where
               11          children suffer long lasting harms or keeping children in restrictive placements even
               12          after a step-down decision is made. (SUF ¶¶ 137, 218–19.) Indeed, even once ORR
               13          finds a child suitable for step-down, the step-down process can take several weeks and
               14          sometimes even several months. (SUF ¶ 155.)
               15                   For example, Defendants admit that Class Representative Jaime D. was detained
               16          in a secure detention center and kept there three weeks after it was determined that he
               17          had been erroneously placed there in the first place. (SUF ¶¶ 218–19; ECF No. 144
               18          [Azar Answer] ¶ 75 (Defendants admitting that two weeks after transfer to Yolo, “staff
               19          were all in agreement that [Jaime] isn’t appropriately placed in a secure setting” and
               20          that nonetheless Jaime stayed at Yolo for three more weeks).) Additionally, ORR’s own
               21          compliance review of secure facilities revealed that “the majority of the kids [ ] were
               22          inappropriately sheltered.” (Ex. 19 [Ray Dep. Tr.] at 163:19–25;17 see also SUF ¶ 218.)
               23          Likewise, the review showed that placement of over 70% of kids in staff-secure and
               24          RTCs was non-compliant with ORR’s own policies and this Court’s orders. (Ex. 23
               25          [Fink Dep. Tr.] 153:8–13; SUF ¶ 218.)18
               26          17
                                All citations to deposition transcripts refer to original pagination.
               27          18
                                The compliance review revealed even more failures in ORR’s step-up and step-down
               28
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A T T O RNE YS A T L A W                                                                                    MEM. ISO MOT.
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                  1               Defendants also admit that needlessly placing children in restrictive facilities or
                  2        failing to step them down from restrictive facilities is contrary to their best interests.
                  3        (SUF ¶¶ 116, 138.) Yet ORR’s current process allows for little to no oversight of
                  4        decisions related to restrictive placement. Accordingly, the Court should order ORR to
                  5        provide: (i) adequate notice and an opportunity to be heard; (ii) clear standards to
                  6        initially place, step-up, or step-down children; (iii) counsel to challenge restrictive
                  7        placements; (iv) automatic hearings before a neutral factfinder; (v) interpreters; and
                  8        (vi) periodic hearings on placement decisions.
                  9                                   (i)    ORR’s failure to provide Class Members adequate
                                                             notice and an opportunity to be heard harms
               10                                            Plaintiffs’ interests.
               11                Due process requires notice and an opportunity to be heard, particularly where,
               12          as here, “subjective judgments are . . . susceptible to error.” Beltran, 222 F. Supp. 3d at
               13          486. Indeed, “even when all parties involved in this process act with diligence and good
               14          faith, there is considerable risk of error in the tribunal’s findings of fact. There is a risk
               15          inherent in any process that . . . is closed and accusatorial.” Boumediene, 553 U.S. at
               16          785 (quoting Bismullah v. Gates, 514 F. 3d 1291, 1296 (D.D.C. 2008) (Ginsburg, C.J.,
               17          concurring)). Confining children in secure juvenile detention, where they “can’t freely
               18          walk out the door” or are “locked in a cell” entails important liberty interests because
               19          such detention departs from ordinary standards. See E.J. v. Templeton, No. 3:16-cv-
               20          01975, 2017 WL 2080182, *7 (M.D. Tenn. May 15, 2017) (finding Fourteenth
               21          Amendment protects juveniles from denial of liberty interest in avoiding incarceration
               22          in secure detention facility because such confinement drastically departs from the
               23          “ordinary standards” of juvenile detention). Accordingly, a “factfinding process” is
               24
               25          processes, including instances where children remained in secure and RTC placements
               26          even after such placement was no longer appropriate. (SUF ¶ 219; Ex. 19 [Ray Dep.
                           Tr.] at 170:19–23; SUF ¶¶ 218–19; Ex. 22 [Fields Dep. Tr.] at 148:8–23 (admitting
               27          there were “quite a few children” for whom the psychiatrist had recommended step
               28          down or reunification, but who were still at Shiloh RTC).)
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A T T O RNE YS A T L A W                                                                                   MEM. ISO MOT.
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                  1        required to protect children from erroneous detention in restrictive placements,
                  2        including psychiatric facilities and juvenile detention centers. See Saravia, 280 F. Supp.
                  3        3d at 1199.
                  4              For over 50 years, the Supreme Court has recognized that detained children must
                  5        be provided notice “sufficiently in advance of scheduled [hearings] so that reasonable
                  6        opportunity to prepare will be afforded, and it must ‘set forth the alleged misconduct
                  7        with particularity.’” In re Gault, 387 U.S. 1, 33 (1967). Similarly, in the civil
                  8        commitment context, notice is “essential to afford the [individual] an opportunity to
                  9        challenge the contemplated action and to understand the nature of what is happening to
               10          him.” Vitek, 445 U.S. at 496.
               11                Here, there is no dispute that ORR does not require that a child and/or his or her
               12          parent or other potential custodian be provided any prior notice that he or she may be
               13          stepped up or the reasons for step-up (SUF ¶¶ 179, 181), and that Class Representatives
               14          were stepped up without written notice to them or their potential sponsors of the basis
               15          for restrictive placement prior to step-up. (SUF ¶¶ 180, 182; see also Ex. 70 [K.S.G.P.
               16          Decl.] ¶ 2 (minor was not informed of the reason for transfer prior to or subsequent to
               17          her second placement at Shiloh RTC); Ex. 82 [Y.A.M.S. Decl.] ¶¶ 27, 42 (“I arrived at
               18          the Yolo . . . in December 2016 and have been detained here ever since. . . . I have never
               19          been told why I am here, had a chance to present any evidence on why I should not be
               20          here, or been given any notice of any classification review.”).)
               21                Although ORR requires that a child receive a NOP within 48 hours following
               22          step up, i.e. after the decision has been made, such notice is inadequate where it is
               23          undisputed that:
               24                   (1) ORR procedures do not require that the notice be provided within the
                                         same time frame to children placed in out-of-network facilities, or to
               25                        children placed in therapeutic group homes at all (SUF ¶¶ 184–85);
               26                    (2) Children do not always receive a NOP within 48 hours after arrival at a
                                         restrictive placement (SUF ¶ 188);
               27
                                     (3) Children do not consistently know or understand the reasons for
               28                        restrictive placement and are not consistently informed and sometimes
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A T T O RNE YS A T L A W                                                                                MEM. ISO MOT.
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                  1                       do not understand the contents of the notice (SUF ¶¶ 189–90);
                  2                  (4) The NOP does not include documents or other evidence supporting the
                                         step-up decision (SUF ¶ 192); and
                  3
                                     (5) Children are not given adequate opportunity to respond to the NOP (SUF
                  4                      ¶¶ 201–02, 204).
                  5        Providing notice after step-up has occurred without the documents or evidence used to
                  6        make the decision, fails to afford the child enough time to confront the evidence to
                  7        understand what is happening and an opportunity to challenge the contemplated
                  8        deprivation. See In re Gault, 387 U.S. at 33; Vitek, 445 U.S. at 495–96. Further, notice
                  9        without an opportunity to respond is worthless. Saravia, 905 F.3d at 1144 (“Due process
               10          always requires, at minimum, notice and an opportunity to respond.”) (quoting United
               11          States v. Raya-Vaca, 771 F. 3d. 1195, 1204 (9th Cir. 2014), abrogated on other grounds
               12          by Dep’t of Homeland Sec. v. Thuraissigiam, 140 S. Ct. 1959 (2020)).
               13                Finally, the Government faces minimal burdens in providing adequate notices.
               14          See Martinez-de Bojorquez v. Ashcroft, 365 F.3d 800, 805 (9th Cir. 2004) (cost of
               15          adding written notice is “minimal”); Walters v. Reno, 145 F.3d 1032, 1044 (9th Cir.
               16          1998) (“Providing constitutionally adequate notice requires only minor changes in the
               17          content of [INS] forms themselves and equally slight adaptations in the INS’s method
               18          of presenting the forms.”). Especially here, where it is undisputed that the evidence is
               19          compiled and reviewed by Case Managers, reviewed by Case Coordinators before
               20          making a recommendation, and then sent to FFS for final decision-making. (SUF ¶ 162–
               21          63, 167–68.) The same evidence could easily be shared with the child and his or her
               22          legal representative contemporaneously with the evidence being shared with the Case
               23          Coordinator and FFS.
               24                Defendants also admit that no hearing is afforded to children prior to or after step-
               25          up (SUF ¶¶ 193–99, 204), and there is no constitutionally adequate opportunity to be
               26          heard. Given the deprivation of liberty, the substantial private interest at stake, and the
               27          risk involved, due process requires that such hearing occur pre-deprivation––prior to
               28          initial placement or step-up to a restrictive setting. See Zinermon, 494 U.S. at 127–28
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                  1        (due process generally requires “some kind of a hearing” before a deprivation of
                  2        protected liberty interests) (emphasis added). While the Supreme Court has made
                  3        exceptions for situations “where a predeprivation hearing is unduly burdensome in
                  4        proportion to the liberty interest at stake . . . or where the State is truly unable to
                  5        anticipate and prevent a random deprivation of liberty interest,” id. at 132 (internal
                  6        citations omitted), such exceptions are inapplicable here.
                  7              Indeed, it is highly predictable that a child could be erroneously deprived of his
                  8        or her interest where the child, parent, sponsor and/or the child’s attorney or
                  9        representative is not notified or made part of the decision-making process (SUF ¶¶ 164–
               10          65, 170–73, 179, 234–39, 244), no hearing or opportunity to respond is afforded (SUF
               11          ¶¶ 193–95), and decision-makers are given no evidentiary standard to apply and little
               12          to no guidance on how to weigh factors or assess criteria, like danger to self or others
               13          (SUF ¶¶ 176–78). It is also feasible to provide pre-deprivation hearings and notice
               14          where ORR steps up relatively few children (SUF ¶ 222), making the administrative
               15          burden minimal at most. Despite the predictability and feasibility of providing a pre-
               16          deprivation opportunity to be heard, ORR policy and practice does not afford children
               17          an opportunity to challenge a decision to place them in a restrictive setting before such
               18          placement occurs. (SUF ¶¶ 193–95.)
               19                Even after placement in a restrictive setting, children are not provided an
               20          opportunity to challenge their placement in an evidentiary hearing. (SUF ¶ 204.)19
               21          Although some children are afforded an opportunity to request reconsideration of
               22          placement, this request for reconsideration is inadequate because:
               23                (1)    Only children placed in RTCs and secure facilities are afforded this
                                        opportunity, but not children placed in staff-secure, therapeutic staff-
               24                       secure, or therapeutic group homes (SUF ¶¶ 201–02);
               25
                           19
               26            Class representatives Lucas R. Gabriela N., Daniela Marisol, Sirena P., and Benjamin
                           F. were stepped up to an RTC, and Jaime D. was stepped up to secure juvenile detention
               27          without being provided an evidentiary hearing to challenge the step-up decision. (SUF
               28          ¶ 195.)
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                  1              (2)   Children are not heard by a neutral factfinder (SUF ¶ 187; see infra Section
                                       IV.D.2.b.ii);
                  2
                                 (3)   Children have no ability to inspect or rebut information relied upon in
                  3                    making a placement decision (SUF ¶ 215);
                  4              (4)   Children have no opportunity to present witnesses or evidence on their own
                                       behalf (SUF ¶ 204); and
                  5
                                 (5)   Children have no chance to cross-examine adverse witnesses (SUF
                  6                    ¶ 199). 20
                  7        See Vitek, 445 U.S. at 494–95 (Due process requires “an opportunity to be heard in
                  8        person and to present documentary evidence,” as well as “[a]n opportunity at the
                  9        hearing to present testimony of witnesses by the defense and to confront and cross-
               10          examine witnesses called by the state, except upon a finding, not arbitrarily made, of
               11          good cause for not permitting such presentation, confrontation, or cross-examination.);
               12          Schall, 467 U.S. at 277 (due process satisfied where accused juvenile was provided a
               13          hearing to call witnesses and offer evidence on his own and where government was
               14          allowed to call witnesses under oath and witnesses were subject to cross examination);
               15          In re Gault, 387 U.S. at 57 (“absent a valid confession, a determination of delinquency
               16          and an order of commitment to a state institution cannot be sustained in the absence of
               17          sworn testimony subjected to the opportunity for cross-examination in accordance with
               18          our law and constitutional requirements”).
               19                Moreover, in Saravia v. Sessions, the Ninth Circuit upheld a preliminary
               20          injunction that provided detention hearings for children who were rearrested by ICE
               21          and placed in ORR custody. 905 F.3d at 1141, 1144–45 (finding no abuse of discretion
               22          where district court required prompt hearing before a neutral decisionmaker at which
               23          the minors could contest gang allegations and government would need to justify
               24          detention based on allegations). There is no reason the same process should not be
               25
                           20
               26            Class representatives Lucas R. Gabriela N., Daniela Marisol, Sirena P., and Benjamin
                           F. were stepped up to an RTC, and Jaime D. was stepped up to secure juvenile detention
               27          without being provided an opportunity to cross-examine witnesses in an evidentiary
               28          hearing regarding step-up or placement in a restrictive setting. (SUF ¶ 200.)
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                  1        afforded to all children ORR steps up to restrictive detention centers based on similarly
                  2        one-sided allegations, where the provision of such hearings would be a minimal burden
                  3        to the government. Id. at 1143 (“district court was well within its discretion to conclude
                  4        that the cost of transporting minors to the hearing location was not likely to outweigh
                  5        the benefits provided by its order, given that witnesses and evidence concerning the
                  6        gang allegations that led to the minor’s current predicament are most likely to be found
                  7        where they lived”).
                  8                                  (ii)   ORR’s failure to articulate clear standards to
                                                            initially place, step-up, or step-down children
                  9                                         harms Plaintiffs’ interests.
               10                As discussed supra, courts have disapproved of ORR policies that result in
               11          “unfettered discretion . . . to rule over the fate of vulnerable children.” L.V.M., 318 F.
               12          Supp. 3d at 609, 611. Yet ORR enjoys virtually unfettered discretion in deciding
               13          whether to initially place or step-up or step-down children to more or less restrictive
               14          detention centers. First, ORR admits that it does not use any type of evidentiary
               15          standard in making detention placement decisions. (SUF ¶ 177.)21 Second, ORR’s
               16          written policies offer only limited guidance to case staff for initially placing, stepping
               17          up or stepping down children, and no guidance whatsoever on how to weigh information
               18          relevant to placement decisions. (SUF ¶ 178.) Further, not all FFS receive formal
               19          training on the differences between all of the different restrictive detention centers.
               20          (SUF ¶ 175.) And ORR policy provides no standardized metric to assess whether a child
               21          is a danger to self or others for step-up to a more restrictive setting—including the most
               22          restrictive, jail-like facilities—or “stable enough” for step-down. (SUF ¶¶ 150–51, 176.)
               23          Third, ORR’s written policies and procedures on initial placements, step-up, and step-
               24          21
                             In contrast, courts uniformly require a showing of “clear and convincing evidence”
               25          for involuntary civil commitment, Addington, 441 U.S. at 432–33; Hubbart v. Knapp,
               26          379 F.3d 773 (9th Cir. 2004) (same), and “proof beyond a reasonable doubt” if a
                           juvenile is to be confined in juvenile detention. In re Winship, 397 U.S. 358, 368 (1970).
               27          The Ninth Circuit has also required the “clear and convincing evidence” standard of
               28          proof for prolonged immigration detention. Singh, 638 F.3d at 1203–05.
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                  1        down change frequently (SUF ¶ 160), are not always consistent (SUF ¶ 159), and are
                  2        not published in the Federal Register or a Notice of Proposed Rulemaking and are
                  3        therefore shielded from public scrutiny (SUF ¶ 158). Fourth, FFS make final placement
                  4        decisions based on information and evidence provided by case staff, which is not always
                  5        accurate (SUF ¶ 169), and do not independently interview the children and/or their
                  6        potential sponsors to aid in their decision-making (SUF ¶ 170–73).22 Fifth, in most
                  7        cases, FFS placement decisions are not subject to review (SUF ¶ 174), and FFS may
                  8        disregard recommendations of case staff when making such decisions (SUF ¶ 167).
                  9        Additionally, an FFS holds all the power to decide whether a placement review can
               10          occur earlier than 30 days. (SUF ¶ 211). Power, like that given to an FFS, “exercised
               11          entirely at the[ir] discretion . . . is a broad, roving authority, a type of administrative
               12          absolutism not congenial to our law-making traditions.” Gutknecht v. United States, 396
               13          U.S. 295, 306 (1970).
               14                                    (iii)   ORR’s failure to provide counsel to challenge
                                                             restrictive placements harms Plaintiffs’ interests.
               15
               16                As discussed, a right to be heard is concomitant with the right to counsel. (See

               17          supra Section IV.D.1.b.iv.) Because these children have a fundamental liberty interest

               18          at stake, there is no doubt that the right to counsel is constitutionally mandated—

               19          especially where the detainee is a vulnerable unaccompanied child. (See infra Section

               20          V.)

               21                                    (iv)    ORR’s failure to provide automatic hearings before
                                                             a neutral factfinder harms Plaintiffs’ interests.
               22
               23                Procedural due process also requires an automatic hearing by a neutral factfinder.

               24          (See supra Section IV.B.; Morrisey v. Brewer 408 U.S. 471, 485 (1972); see also

               25          Zadvydas, 533 U.S. at 692 (recognizing this Court has suggested that “the Constitution

               26          22
                              An FFS did not interview class representatives Lucas R., Gabriela N., Daniela
               27          Marisol, Sirena P., Benjamin F., or Jaime D. before stepping them up to restrictive
               28          settings. (SUF ¶¶ 171–72.)
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                  1        may well preclude granting ‘an administrative body the unreviewable authority to make
                  2        determinations implicating fundamental rights’”) (quoting Superintendent, Mass. Corr.
                  3        Inst., Walpole v. Hill, 472 U.S. 445, 450 (1985)).) The undisputed facts show that
                  4        ORR’s written policies do not guarantee Class Members the right to a hearing before a
                  5        neutral factfinder in connection with decisions to detain a child in a restrictive
                  6        placement, despite the fact that all 50 states and the District of Columbia require a
                  7        hearing before a neutral factfinder before a child can be detained in a secure facility,
                  8        and a majority of the states provide the same for children placed in staff-secure facilities.
                  9        (SUF ¶¶ 74, 207.)
               10                Further, due process tilts overwhelmingly in favor of automatic hearings to
               11          ensure Class Members’ ongoing prolonged confinement in restrictive detention centers
               12          remains justified. First, “[t]he private interest here—freedom from prolonged
               13          detention—is unquestionably substantial.” Singh, 638 F.3d at 1208. Prolonged
               14          confinement imposes not only lengthy physical restraint, but also loss of familial
               15          association. Second, the record evidence establishes that erroneous deprivations of
               16          liberty occur without automatic hearings and adequate notice. Many Class Members
               17          lack English proficiency or literacy in any language meaning that due process can only
               18          be achieved if a child’s hearings are automatic. See Walters, 145 F.3d at 1043 (striking
               19          down INS procedures in part because “the alien never learns how to take advantage of
               20          the procedures because the combined effect of all the [immigration] forms together is
               21          confusion”) (emphasis in original); see also Gallinot, 657 F.2d at 1023 (lack of
               22          automatic hearings rendered process “illusory” because detainees “cannot realistically
               23          be expected to set the proceedings into motion in the first place”).
               24                In similar juvenile proceedings, children’s deprivation hearings occur as of right
               25          and the onus is never placed on a child to prove that they should not be deprived of
               26          liberty. (Ex. 144 [Quinn Expert Rep.] at 2050.) According to Professor Mae Quinn, who
               27          has nearly thirty years of experience in juvenile and criminal court systems throughout
               28          the United States, it is self-evident that, before a youth is “exposed to a secure detention
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                  1        setting for a prolonged period, there needs to be a hearing provided in an automatic way,
                  2        that is the youth shouldn’t have the [burden of requesting it].” (Ex. 32 [Quinn Dep. Tr.]
                  3        at 91:1–3.) Finally, the Government faces minimal burdens in scheduling automatic
                  4        hearings and has denied cost is a principal factor. (SUF ¶ 225.) Thus, requiring ORR to
                  5        institute procedural safeguards before detaining children in restrictive placements will
                  6        lessen any burden by avoiding costly and unnecessarily prolonged detentions.
                  7                                  (v)    ORR’s failure to provide interpreters harms
                                                            Plaintiffs’ interests.
                  8
                  9              As discussed, courts routinely hold that due process requires the assistance of an
               10          interpreter. (See supra Section IV.D.1.) This right is particularly important where, as
               11          here, the vast majority of children neither speak nor understand English. (SUF ¶ 226.)
               12          Accordingly, children in ORR custody are entitled to a qualified interpreter when
               13          challenging ORR’s decisions with respect to restrictive placement.
               14                                    (vi)   ORR’s failure to provide periodic hearings on
                                                            placement decisions harms Plaintiffs’ interests.
               15
               16                The Ninth Circuit has specifically held that immigrants at risk of prolonged
               17          detention are entitled to individualized periodic review at which they must be released
               18          unless the government establishes—through a formal hearing adjudicated by an
               19          immigration judge—that they are a flight risk or danger to the community. Diouf v.
               20          Napolitano, 634 F.3d 1081, 1091–92 (9th Cir. 2011). Children at risk of indefinite
               21          detention in ORR custody are therefore entitled to individualized periodic reviews of
               22          their placement in restrictive facilities and such reviews must include the full panoply
               23          of procedural rights.
               24                Likewise, “it is necessary that the child’s continuing need for commitment be
               25          reviewed periodically by a similarly independent procedure” as provided upon
               26          confinement. Parham, 442 U.S. at 607. In Parham, periodic reviews were conducted
               27          by “at least one independent, medical review group” and were “as frequent as weekly,
               28
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                  1        but none are less often than once every two months.” Id. at 615. The court did not rule
                  2        on whether this review was sufficient but rather held that the periodic review provided
                  3        reduced the risk of error and therefore was necessary. Id. at 617. Similarly, recognizing
                  4        the risk of error and risk of prolonged or indefinite detention in the juvenile justice
                  5        context, a majority of states, statutes and court rules explicitly ensure that detention of
                  6        a juvenile in a secure detention facility does not continue indefinitely without court
                  7        review. (Ex. 54 [Heldman Expert Rep.] at 1353 & App’x B (citing to 30 state statutes
                  8        or court rules).)
                  9              Although ORR policy provides for placement reviews at least every 30 days a
               10          child spends in a restrictive placement (SUF ¶ 209), the evidence shows that ORR has
               11          failed to provide the reviews under the mandated timeframe. (SUF ¶ 212.)23 And even
               12          when it does provide a 30-day review, the review is meaningless where children are not
               13          permitted to and do not participate or submit evidence (SUF ¶ 213),24 and are not
               14          allowed an opportunity to cross-examine witnesses (SUF ¶ 216).25
               15                                    (vii) ORR’s failure to afford adequate due process
                                                           protections runs contrary to prevailing state and
               16                                          child welfare practices.
               17                The safeguards Plaintiffs are seeking have long since been standard protocol both
               18
               19          23
                              Failure to provide children placed in secure facilities a placement review “at
               20          minimum, on a monthly basis” is also a violation of the TVPRA. See 8 U.S.C.
                           § 1232(c)(2). Agency action “not in accordance with the law,” like the TVPRA, not
               21          only violates the APA under 5 U.S.C. § 706(2)(A), but also constitutes “agency action
               22          unlawfully withheld” under § 706(1). Ramirez v. U.S. Immigr. & Customs Enf’t, --- F.
                           Supp. 3d ----, 2020 WL 3604041, *83 (D.D.C. July 2, 2020); see also infra Section VI.
               23
                           24
                             Class representatives Lucas R. Gabriela N., Daniela Marisol, Sirena P., Jaime D., and
               24          Benjamin F. participated in case management meetings with their Case Managers, but
               25          they were not a part of the case staffing meetings that occurred between Case Managers,
                           Clinicians, Case Coordinators, and the FFS to discuss their cases. (SUF ¶ 214.)
               26          25
                             Class representatives Lucas R. Gabriela N., Daniela Marisol, Sirena P., Jaime D., and
               27          Benjamin F. were not provided an opportunity to cross-examine witnesses in an
               28          evidentiary hearing regarding eligibility for step-down. (SUF ¶ 217.)
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                  1        at the state and federal level. See Schad, 501 U.S. at 640. Plaintiffs’ expert, Professor
                  2        Jessica Heldman, conducted a review of the laws and policies in all 50 states, as well as
                  3        federal law and policy, relating to detention and placement of children and youth in
                  4        secure and staff secure settings within juvenile justice systems. (Ex. 54 [Heldman
                  5        Expert Rep.] at 1349.) Professor Heldman concluded that “the procedural protections
                  6        afforded children in the juvenile justice and child welfare systems minimize the risk of
                  7        erroneous and unnecessarily lengthy placements in secure and staff secure settings
                  8        which can be harmful and traumatic.” (Id. at 1350.)
                  9              More specifically, Professor Heldman found that in all 50 states plus the District
               10          of Columbia, children are “entitled to a hearing when they are placed in a secure
               11          detention facility.” (Id. at 1351.) Broken down by time frame, 19 states require a
               12          detention hearing within 24 hours of a youth entering a secure facility; 16 states within
               13          48 hours; and 12 states within 72 hours. In comparison, ORR provides no time frame
               14          nor an automatic right to a detention hearing at all. Instead, children are expected to
               15          pursue federal court review or ORR Director review on their own. This is unrealistic
               16          when ORR does not provide counsel to children in restrictive placements to challenge
               17          their placement. In 41 states plus the District of Columbia, there is an explicit right to
               18          an attorney in a detention hearing; in the 9 other states, counsel is provided “either ‘at
               19          all proceedings’ or ‘at all stages of proceedings’ under the juvenile delinquency code.”
               20          (Id. at 1352.) Additionally, the “majority of states have written policies—through
               21          statute, court rules, or both—indicating that all juveniles have a right to notice prior to
               22          their detention hearing.” (Id.)
               23                Professor Heldman concluded that “the most basic state law protections
               24          providing the right to a hearing, representation by an attorney, and an opportunity to be
               25          heard with testimony, witnesses and presentment of evidence in determinations
               26          regarding placement in a staff secure or secure facility exceed the procedural protections
               27          within ORR’s written policies and procedures regarding the placement of children in
               28          restrictive settings.” (Id. at 1350; SUF ¶ 220.)
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                  1              Meaningful process will improve ORR’s decision-making with respect to
                  2        restrictive placement and it will bring ORR’s restrictive placement process in-line with
                  3        the vast majority of states’ juvenile justice protections, as well as in-line with the
                  4        process due under the Fifth Amendment given the substantial interests at stake and
                  5        significant risk of erroneous deprivation. Accordingly, this Court should compel ORR
                  6        to: (i) provide Class Members adequate notice and an opportunity to be heard, with the
                  7        opportunity to inspect, confront, present and rebut evidence through testimony, if
                  8        necessary; (ii) articulate clear standards to initially place or step-up or step-down
                  9        children; (iii) provide Class Members with the right to counsel to challenge their
               10          restrictive placement; (iv) provide Class Members the right to automatic hearings before
               11          a neutral factfinder regarding their placement; (v) provide interpreters; and (vi) provide
               12          periodic hearings on placement decisions.
               13                              c.    Plaintiffs’ liberty interests far outweigh the government’s
                                                     interest.
               14
               15                The government denies that its decision to provide children with no notice or
               16          opportunity to be heard is rooted in economic burdens or administrative inconvenience.
               17          (SUF ¶ 225.) Nor could the government assert economic or administrative burden as
               18          the excuse to unilaterally deprive children of liberty without due process because the
               19          burden would be insignificant. See Beltran, 222 F. Supp. 3d at 482; see also Padilla v.
               20          Immigration & Customs Enf’t, 953 F.3d 1134, 1142 (9th Cir. 2020) (“In the context of
               21          immigration detention, it is well-settled that due process requires adequate procedural
               22          protections to ensure that the government’s asserted justification for physical
               23          confinement outweighs the individual’s constitutionally protected interest in avoiding
               24          physical restraint.”) (internal quotation marks omitted). Moreover, given that it is more
               25          expensive to detain children in RTC placements than in shelters (SUF ¶ 221), procedural
               26          safeguards that minimize the rate of erroneous placements in RTCs will reduce rather
               27          than increase costs to Defendants.
               28                The number of youth detained in ORR restrictive placements as of March 2020
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                  1        was a small percentage of the total detained population in ORR custody. (See supra
                  2        Section II.B.) Of the 3,632 total children in ORR care (in- and out-of-network), 91 were
                  3        detained in restrictive placements, or less than 2.5% of the total ORR population. (See
                  4        SUF ¶¶ 222–23). Thus, a minimal financial and administrative burden would be placed
                  5        on the government to provide these additional protections to less than 2.5% of the total
                  6        detained population before placing a youth in a restrictive placement.
                  7        V.    PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR
                                 FOURTH CLAIM FOR RELIEF
                  8
                  9              “‘The right to be heard would be, in many cases, of little avail if it did not
               10          comprehend the right to be heard by counsel.’. . . Counsel can help delineate the issues,
               11          present the factual contentions in an orderly manner, conduct cross-examination, and
               12          generally safeguard the interests of the recipient.” Goldberg, 397 U.S. at 270–71
               13          (quoting Powell, 287 U.S. at 68–69). Since the Supreme Court’s decision in Goldberg,
               14          the right of anyone who appears before a federal administrative agency to be represented
               15          by counsel has been a hallmark of administrative law: “A person compelled to appear
               16          in person before an agency or representative thereof is entitled to be accompanied,
               17          represented, and advised by counsel or, if permitted by the agency, by other qualified
               18          representative. A party is entitled to appear in person or by or with counsel or other duly
               19          qualified representative in an agency proceeding.” 5 U.S.C. § 555(b).
               20                Giving children in ORR custody—the vast majority of whom speak no English
               21          and have no ability to advocate for themselves within the U.S. legal system—a right to
               22          be heard will be of little practical benefit if they are denied effective assistance of
               23          counsel. Indeed, Plaintiffs’ right to legal assistance is codified in the TVPRA, see infra
               24          Section V.A, and required as a matter of due process, see infra Section V.B.
               25          Nonetheless, the undisputed facts confirm that Defendants consistently and effectively
               26          deny children legal representation with respect to their release, placement, and
               27          medication decisions, see infra Section V.C, and even forbid legal services providers
               28          from using federal funds to represent children in those decisions, see infra Section V.D.
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
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                  1              A.     The TVPRA Grants Plaintiffs a Comprehensive Right to Counsel
                  2              The TVPRA obliges ORR to “ensure, to the greatest extent practicable . . . that
                  3        all unaccompanied alien children who are or have been in [its] custody . . . have counsel
                  4        to represent them in legal proceedings or matters and protect them from mistreatment
                  5        . . . .” 8 U.S.C. § 1232(c)(5) (emphases added). But ORR has never issued regulations
                  6        or other written guidance on the definition of “legal proceedings or matters” or what
                  7        amounts to protection “from mistreatment.” (SUF ¶ 270.)
                  8              Here, there can be little question that ORR detaining children, placing them in
                  9        high-security facilities like psychiatric facilities and juvenile detention centers, and
               10          administering psychotropic medication without parental consent are all “legal
               11          proceedings or matters” within the meaning of the TVPRA. Black’s Law Dictionary
               12          defines “matter” as a “subject under consideration, esp. involving a dispute or
               13          litigation.” Black’s Law Dictionary 442 (11th ed. 2019). And decisions concerning the
               14          fitness of custodians, placing children in psychiatric facilities or juvenile detention
               15          centers, and medicating children without parental consent are all matters routinely
               16          disputed and litigated. See, e.g., Quilloin v. Walcott, 434 U.S. 246, 255 (1978) (“We
               17          have little doubt that the Due Process Clause would be offended if a State were to force
               18          the breakup of a natural family . . . without some showing of unfitness”) (internal
               19          quotation marks omitted); Flores v. Sessions, 862 F.3d 863 (9th Cir. 2017) (considering
               20          ORR’s process for denying children’s release); Flores v. Sessions, No. 2:85-cv-4544-
               21          DMG (AGRx), ECF No. 470, at 20–24 (C.D. Cal. July 30, 2018) (considering whether
               22          ORR medicating children without informed parental consent violates consent decree);
               23          id. at 15–20 (considering whether ORR’s transferring children to restrictive placement
               24          violates consent decree). 26
               25                Accordingly, ORR has a clear statutory obligation to ensure, to the greatest extent
               26          26
                             Nor can there be any credible argument that making such decisions without adequate
               27          cause or procedural protections amounts to “mistreatment.” 8 U.S.C. § 1232(c)(5).
               28
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A T T O RNE YS A T L A W                                                                               MEM. ISO MOT.
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                  1        practicable, that Plaintiffs have counsel to represent them with respect to release,
                  2        placement, and medication. 27
                  3               B.     Plaintiffs Are Entitled to Counsel as a Matter of Due Process
                  4               Courts have found that individuals have a due process right to legal counsel in a
                  5        host of scenarios, including the termination of welfare benefits. Goldberg, 397 U.S. at
                  6        270–71 (welfare recipient “must be allowed to retain an attorney”). If adult welfare
                  7        recipients must be allowed to retain an attorney before benefits may be terminated, it
                  8        must be true that vulnerable, detained, non-English-speaking children facing prolonged
                  9        detention, step-up, or forced medication are also entitled to counsel. See generally
               10          J.D.B. v. North Carolina, 564 U.S. 261, 272 (2011) (children “as a class” “lack the
               11          capacity to exercise mature judgment and possess only an incomplete ability to
               12          understand the world around them”); see also Tawadrus v. Ashcroft, 364 F.3d 1099,
               13          1103 (9th Cir. 2004) (immigrant in removal proceedings entitled to counsel). As for
               14          children, the Ninth Circuit also has held that minors in removal proceedings “are
               15          entitled to trained legal assistance so their rights may be fully protected . . . .” Jie Lin v.
               16          Ashcroft, 377 F.3d 1014, 1033 (9th Cir. 2004). In Jie Lin v. Ashcroft, for example, the
               17          Ninth Circuit held that when a child appears in removal proceedings with “obviously
               18          unprepared” counsel, an immigration judge must “suspend the hearing and give [the
               19          child] a new opportunity to retain competent counsel or sua sponte take steps to procure
               20          competent counsel to represent [the child].” 377 F.3d at 1033 (quoting Johns v. Cty. of
               21          San Diego, 114 F.3d 874, 877 (9th Cir. 1997)).
               22                 As discussed supra, ORR’s decisions with respect to release and placement
               23          implicate significant liberty interests, including the right to be free from detention, the
               24
               25          27
                             That denying Plaintiffs access to counsel violates the due process clause (see infra
               26          Section V.B.) likewise counsels in favor of interpreting the TVPRA to provide a
                           comprehensive right to counsel. See INS v. St. Cyr, 533 U.S. 289, 300 (2001) (if “fairly
               27          possible” to interpret a statute to avoid raising serious constitutional problems, courts
               28          must do so).
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A T T O RNE YS A T L A W                                                                                   MEM. ISO MOT.
     L O S A N GE L E S                                                54                F OR P ARTIAL SUMMARY JUDGMENT
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                  1        right to familial association, and the right for children in ORR custody to be placed in
                  2        the least restrictive setting that is in the best interest of the child. (See supra Sections II,
                  3        IV.) Just as the Supreme Court and the Ninth Circuit have already found in the context
                  4        of welfare benefits and immigration proceedings, children detained by ORR have a right
                  5        to counsel to protect the liberty interests implicated by decisions concerning release,
                  6        placement, and medication.
                  7               C.     ORR Violates Plaintiffs’ Right to Counsel by Denying Effective
                                         Assistance of Counsel
                  8
                  9               ORR obstructs Plaintiffs from receiving effective legal representation in myriad
               10          ways, thereby implicating their rights relating to release, placement, and medication
               11          decisions. First, as further explained infra in Section V.D, rather than ensuring access
               12          to counsel on all the matters contemplated by the TVPRA, ORR limits its funding to
               13          immigration matters only. (SUF ¶¶ 271–72.)
               14                 Second, ORR grants a host of actors and decision-makers—including FFS, Case
               15          Coordinators, Case Managers, and Clinicians—broad discretion to communicate (or
               16          not) with children’s legal representatives, which makes it difficult, if not impossible,
               17          for such representatives to effectively advocate for their clients. (SUF ¶¶ 234–39; see
               18          also supra Sections IV.D.) And in some cases, children’s lawyers are excluded entirely
               19          from the decision-making process. (E.g., SUF ¶ 251 (children’s lawyers excluded from
               20          30-day reviews of placement in high security facilities); SUF ¶ 255 (ORR policy
               21          provides for no prior notice of step-up decisions).)
               22                 Third, even when a child’s attorney is able to speak with someone in ORR’s
               23          decision-making tree, she often does so without the benefit of having been given all the
               24          evidence and information that ORR relied upon for its decision—decisions that
               25          significantly affect children’s liberty interests. (SUF ¶¶ 241, 243–44, 246, 254, 259);
               26          see also supra Section IV.D.)
               27                 Fourth, ORR’s policies and practices deny attorneys any meaningful opportunity
               28          to present affirmative evidence to rebut ORR’s adverse decisions. (SUF ¶ 252; see also
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A T T O RNE YS A T L A W                                                                                    MEM. ISO MOT.
     L O S A N GE L E S                                                 55                F OR P ARTIAL SUMMARY JUDGMENT
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                  1        supra Sections IV.D.) In other words, ORR’s policies provide legal counsel no role
                  2        whatsoever in decisions impacting their clients’ lives.
                  3              Subjecting children to decisions relating to release, placement and medication
                  4        without affording meaningful access to legal counsel is incompatible with Plaintiffs’
                  5        rights to counsel, grounded in both the TVPRA and the Constitution. 28
                  6              D.     ORR Unlawfully Bars Legal Service Providers from Using Federal
                                        Funding to Represent Children with Respect To Release, Placement,
                  7                     and Administration of Psychotropic Medication
                  8              Defendants admit that they forbid legal services providers from using federal
                  9        funds to represent children in opposition to ORR’s wishes. (SUF ¶¶ 271–72.) But
               10          Congress specifically gave children whom ORR takes into its custody the right to legal
               11          representation in legal matters and to protect them from mistreatment in the TVPRA:
               12                The Secretary of Health and Human Services shall ensure, to the greatest
                                 extent practicable and consistent with section 292 of the Immigration and
               13
                                 Nationality Act (8 U.S.C. 1362), that all unaccompanied alien children
               14                who are or have been in the custody of the Secretary or the Secretary of
                                 Homeland Security . . . have counsel to represent them in legal proceedings
               15
                                 or matters and protect them from mistreatment, exploitation, and
               16                trafficking.
               17          8 U.S.C. § 1232(c)(5) (emphasis added); see also Homeland Security Act of 2002,
               18          § 462(b) Pub. L. No. 107-296, 116 Stat. 2135 (2002) (“HSA”) (“[T]he Director of the
               19          Office of Refugee Resettlement shall be responsible for . . . developing a plan to be
               20          submitted to Congress on how to ensure that qualified and independent legal counsel is
               21
               22          28
                             ORR’s attempt to exclude attorneys from the process altogether is significantly more
               23          egregious than other cases finding violations of the right to counsel. See, e.g., Mosley
               24          v. St. Louis Southwestern Railway, 634 F.2d 942, 945–56 (5th Cir. 1981) (finding
                           violation of right to counsel where EEOC investigator denied plaintiff opportunity to
               25          discuss proposed settlement with lawyer); Kelly v. R.R. Ret. Bd., 625 F.2d 486, 492 (3d
               26          Cir. 1980) (finding violation of right to counsel where appeals referee questioned
                           disability applicant outside presence of attorney, concluding that such “ex parte
               27          questioning is inconsistent with the right to be represented by counsel”).
               28
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A T T O RNE YS A T L A W                                                                                MEM. ISO MOT.
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                  1        timely appointed to represent the interests of each such child . . . .”) (emphasis added). 29
                  2               Accordingly, the Court should order ORR to allow legal services providers to use
                  3        federal funds to represent children in release, placement, and medication decisions.
                  4        VI.    PLAINTIFFS ARE ALSO ENTITLED TO SUMMARY JUDGMENT ON
                                  THEIR FIRST, SECOND, AND FOURTH CLAIMS FOR RELIEF
                  5               UNDER THE APA
                  6               Federal courts have jurisdiction to review final agency decisions and compel a
                  7        federal officer to perform a duty owed to a plaintiff. 5 U.S.C. §§ 702 et seq.30 A Court
                  8        “shall . . . hold unlawful and set aside agency action” where the action is: (i) contrary
                  9        to a constitutional right; or (ii) “otherwise not in accordance with law.” 5 U.S.C §§ 706
               10          (2)(A), (2)(B). 31
               11                 First, as discussed supra, ORR’s custodial vetting and restrictive placement
               12          policies and procedures deny children basic due process rights. As such, ORR’s denials
               13          of Class Members’ sponsor applications and step-up decisions violate the Constitution
               14          and should be set aside. See 5 U.S.C § 706(2)(B); Asse Intern., Inc., 803 F.3d at 1073
               15          n.12 (setting aside agency action as contrary to constitutional right); see also Atterbury
               16          v. U.S. Marshals Serv., 941 F.3d 56, 64 (2d Cir. 2019) (summary judgment on employee
               17
                           29
               18            The TVPRA and HSA directed Defendants to recruit counsel to represent detained
                           children pro bono publico, and for years Congress also has consistently appropriated
               19          funds to ensure that Plaintiff Class Members receive legal representation. See, e.g.,
               20          Further Consolidated Appropriations Act, 2020, 116 Pub. L. No. 94, Title II, 133 Stat.
                           2534 (2019) (appropriating $160 million to “be used for legal services, child advocates,
               21          and post-release services”).
               22          30
                             ORR decisions with respect to release and placement are “final agency decisions.”
               23          (See SUF ¶¶ 57, 167; Ex. 1 [ORR Policy Guide] §2.7 (“Only ORR (or ACF) has the
                           authority to make the final decision on a release.”); id. § 1.3.2 (“The ORR/FFS
               24          supervisor makes a final placement decision on the level of care.”); ECF No. 141 at 11–
               25          13 (concluding “that the policies and/or practices identified in the FAC constitute final
                           agency actions”).)
               26          31
                             Under 5 U.S.C § 706(2)(A), the Court’s review is limited to the administrative record
               27          with limited exceptions. San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d
               28          971, 992 (9th Cir. 2014).
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A T T O RNE YS A T L A W                                                                                  MEM. ISO MOT.
     L O S A N GE L E S                                               57                F OR P ARTIAL SUMMARY JUDGMENT
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                  1        termination reversed and remanded to agency to conduct further proceedings that
                  2        comport with due process).
                  3              Second, ORR’s release and step-up decisions are “otherwise not in accordance
                  4        with law” under 5 U.S.C. § 706(2)(A) because they result in unnecessary delay of
                  5        children’s release, denied family reunification, and improper placement in high security
                  6        settings, all of which violate the express provisions of the TVPRA. See 8 U.S.C.
                  7        § 1232(c)(2)(A); supra Section IV.D. ORR’s obstruction of children’s legal counsel’s
                  8        involvement in decisions relating to release, placement, and administration of
                  9        psychotropic medication likewise violate the express provisions of the TVPRA.
               10          8 U.S.C. § 1232(c)(5); supra Section V.
               11                By denying sponsors and placing children in restrictive settings without affording
               12          any opportunity to be heard or to be represented by legal counsel, ORR’s policies violate
               13          the Constitution, the TVPRA, and, in turn, the APA. Accordingly, this Court should
               14          compel ORR to afford basic due process protections to Plaintiffs, as requested herein
               15          and in the concurrently filed Proposed Order. See 5 U.S.C § 706(1); Garcia-Ramirez v.
               16          ICE, 2020 WL 3604041, at *83 (holding that APA claims under 5 U.S.C. § 706(1) and
               17          § 706(2) can work together such that if you can show an agency acted not in accordance
               18          with the law, you have shown that agency action has been “unlawfully withheld or
               19          unreasonably delayed”).
               20          VII. PLAINTIFFS ARE ENTITLED TO A PERMANENT INJUNCTION
               21                To obtain a permanent injunction, a plaintiff must show: (1) that it has suffered
               22          an irreparable injury; (2) that remedies available at law, such as monetary damages, are
               23          inadequate to compensate for the injury; (3) that the remedy in equity is warranted upon
               24          consideration of the balance of hardships between the plaintiff and defendant; and
               25          (4) that the permanent injunction being sought would not hurt public interest. See, e.g.,
               26          Weinberger v. Romero-Barcelo, 456 U.S. 305, 311–313 (1982); Amoco Production Co.
               27          v. Gambell, 480 U.S. 531, 542 (1987).
               28                Plaintiffs’ deprivation of liberty clearly constitutes irreparable harm. The harm
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A T T O RNE YS A T L A W                                                                               MEM. ISO MOT.
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                  1        caused by unlawful detention without adequate process is particularly severe given that
                  2        Class Members are unaccompanied minor children detained for prolonged periods of
                  3        time, some in jail-like conditions separated from their families. See Garcia Ramirez v.
                  4        ICE, 2020 WL 3604041, at *148 (holding that “deprivations of physical liberty are the
                  5        sort of actual and imminent injuries that constitute irreparable harm”); see also Saravia,
                  6        905 F.3d at 1143; Padilla, 953 F.3d at 1147-48. Nor are money damages an option in
                  7        this case. Finally, given the substantiality of the interests involved (see supra Sections
                  8        IV.A and IV.D), and the minimal burden that would be imposed on the government to
                  9        revise its policies and procedures (see supra Section IV.D), a permanent injunction
               10          would not hurt the public interest, but instead promote it; the balance therefore tips
               11          significantly in Plaintiffs’ favor. Padilla, 953 F.3d at 1147 (“‘it is always in the public
               12          interest to prevent the violation of a party’s constitutional rights’”) (quoting Melendres
               13          v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)). 32
               14          VIII. CONCLUSION
               15                For the foregoing reasons, the Court should grant Plaintiffs’ Motion for Partial
               16          Summary Judgment of their First, Second, and Fourth Claims for Relief.
               17
               18          Dated: October 2, 2020                     COOLEY LLP
               19
               20                                                     /s/ Summer J. Wynn
                                                                      Summer J. Wynn (240005)
               21                                                     Attorneys for Plaintiffs
                                                                      Email: swynn@cooley.com
               22
               23
               24
               25
               26          32
                             Plaintiffs respectfully refer the Court to the Proposed Order filed concurrently
               27          herewith. Plaintiffs further respectfully request that the Court order additional briefing
               28          on remedy should it so require.
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A T T O RNE YS A T L A W                                                                                 MEM. ISO MOT.
     L O S A N GE L E S                                              59                F OR P ARTIAL SUMMARY JUDGMENT
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